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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA

   PILOT, United States Coast Guard,       )
   LCDR PILOT, United States Coast         )
   Guard, LIEUTENANT 2, United States      )
   Coast Guard, AVIONICS ELECTRICAL        )
   TECHNICIAN 1, United States Coast       )   No. 8:22-cv-1278-SDM-TGW
   Guard, MARINE SCIENCE                   )
   TECHNICIAN 3, United States Coast       )
   Guard, and SENIOR CHIEF                 )
   BOATSWAIN’S MATE, United States         )
   Coast Guard Reserve, for themselves and )
   all others similarly situated,          )
                                           )
                        Plaintiffs,        )
   v.                                      )
                                           )
   LLOYD AUSTIN, in his official capacity )
   as Secretary of the United States       )
   Department of Defense, ALEJANDRO        )
   MAYORKAS, in his official capacity as   )
   Secretary of the Department of Homeland )
   Security, ADMIRAL LINDA FAGAN, in )
   her official capacity as Commandant of  )
   the Coast Guard,                        )
                                           )
                        Defendants.        )

                          THIRD AMENDED
                 VERIFIED CLASS ACTION COMPLAINT
        FOR PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF,
                DECLARATORY RELIEF, AND DAMAGES
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              “Our citizens in uniform may not be stripped of basic rights
                 simply because they doffed their civilian clothes.”1

        For their VERIFIED CLASS ACTION COMPLAINT against Defendants,

  LLOYD AUSTIN, in his official capacity as Secretary of the United States

  Department of Defense, ALEJANDRO MAYORKAS, in his official capacity as

  Secretary of the Department of Homeland Security, and ADMIRAL LINDA

  FAGAN, in her official capacity as Commandant of the Coast Guard, Plaintiffs,

  PILOT, United States Coast Guard, LCDR PILOT, United States Coast Guard,

  LIEUTENANT 2, United States Coast Guard, AVIONICS ELECTRICAL

  TECHNICIAN 1, United States Coast Guard, MARINE SCIENCE TECHNICIAN

  3, United States Coast Guard, and SENIOR CHIEF BOATSWAIN’S MATE, United

  States Coast Guard Reserve, for themselves and all others similarly situated, allege

  and aver as follows:

                 URGENCIES JUSTIFYING EMERGENCY RELIEF

                    “The Executive Order mandating vaccinations
              for all federal employees has provided clear direction. . . .
      Frankly, if you are not vaccinated, you will not work for the U.S. Navy.”2

        1.     Plaintiffs are United States Coast Guard servicemembers who faced a

  deadline under the Federal COVID-19 Vaccine Mandate to receive a COVID-19



  1
         Chappell v. Wallace, 462 U.S. 296, 304 (1983) (citing E. Warren, The Bill of Rights
  and the Military, 37 N.Y.U. L. Rev. 181, 188 (1962)).
  2
         Vice Admiral William Galinis, Commander, Naval Sea Systems Command
  (NAVSEA), ALL HANDS NOTE (10/14/2021) COMNAVSEA Vaccination Message (Oct.
  14, 2021) (warning entire command, comprising more than 85,000 civilian and
  military personnel).

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  vaccine that violates their sincerely held religious beliefs, and have been refused any

  religious exemption or accommodation. United States Coast Guardsman had until

  November 28, 2021 to become fully vaccinated. This date has passed, and

  disciplinary actions have already commenced. Relief is needed now to prevent these

  military heroes from facing dishonorable discharge, court martial, other life-altering

  disciplinary procedures, and termination.

         2.     “Greater love hath no man than this, that a man lay down his life for his

  friends.” John 15:13 (KJV). Plaintiffs have all agreed, voluntarily and sacrificially, to

  devote their entire lives by this axiomatic truth, regardless of the cost to them

  personally or to their families who likewise sacrifice in defense of this Nation. They all

  have sworn an oath to protect and defend the Constitution of the United States, to

  sacrificially lay down their lives for their fellow citizens against enemies both foreign

  and domestic, and to preserve for our progeny the heritage and treasure passed down

  to them by Veterans of old. And, for that ultimate sacrifice in defense of the

  Constitution and our freedoms, Defendants threatened these military heroes with

  dishonorable discharge for even requesting a religious exemption from the

  COVID-19 shots. Dishonorable discharge is worse than criminal conviction for

  these servicemembers because it is a badge of disgrace that follows them for the rest

  of their lives. Having sacrificed everything to defend America and its citizenry—and while

  carrying the images and sounds of war with them throughout their lives—America, the “land of

  the free and the home of the brave,” would betray them with the worst punishment of



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  dishonorable discharge. And for what cause? Simply because they seek an accommodation from

  the COVID-19 shots on account of their sincerely held religious beliefs.

         3.      The deadlines for Plaintiffs to receive the COVID-19 shots have

  passed. No servicemembers should be forced to choose between dishonorable discharge by the

  Nation they love or sinning against God by violating their sincere religious beliefs (which, by the

  way, can be easily accommodated). The Court must protect the rights of these military

  heroes and remove from the Republic the stain of government coercion of

  conscience.

         4.      As the Supreme Court has long affirmed, the heroes of the United States

  Armed Forces do not shed their constitutional rights at the moment of their

  sacrificial oath. Indeed, “[t]his Court has never held, nor do we now hold, that

  military personnel are barred from all redress in civilian courts for constitutional

  wrongs suffered in the course of military service.” Chappell v. Wallace, 462 U.S. 296,

  304 (1983).

         5.      Moreover,      while     servicemembers        certainly    have     duties    and

  responsibilities “without counterpart in civilian life,” Schlesinger v. Councilman, 420

  U.S. 738, 757 (1975), the Constitution still provides them with the same blanket of

  constitutional protection that their dedicated service and sacrifice provide to the

  average civilian. For to turn the same Constitution that United States Armed Forces

  members protect and defend into a weapon against them would be a travesty unknown




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  to the Nation’s founding charter and eclipse any dereliction of duty heretofore seen in

  the great experiment of America. Indeed, as Justice Brennan noted,

                Military (or national) security is a weighty interest, not least
                of all because national survival is an indispensable
                condition of national liberties. But the concept of military
                necessity is seductively broad, and has a dangerous
                plasticity. Because they invariably have the visage of
                overriding importance, there is always a temptation to
                invoke security “necessities” to justify an encroachment
                upon civil liberties. For that reason, the military-security
                argument must be approached with a healthy skepticism:
                its very gravity counsels that courts be cautious when
                military necessity is invoked by the Government to justify
                a trespass on First Amendment rights.

  Brown v. Glines, 444 U.S. 348, 369 (1980) (Brennan, J., dissenting) (emphasis added)

  (citation omitted).

         6.     As he continued,

                To be sure, generals and admirals, not federal judges, are
                expert about military needs. But it is equally true that
                judges, not military officers, possess the competence and
                authority to interpret and apply the First Amendment.
                Moreover, in the context of this case, the expertise of
                military officials is, to a great degree, tainted by the natural
                self-interest that inevitably influences their exercise of the
                power to control expression. Partiality must be expected
                when government authorities censor the views of
                subordinates, especially if those views are critical of the
                censors. Larger, but vaguely defined, interests in
                discipline or military efficiency may all too easily become
                identified with officials' personal or bureaucratic
                preferences. This Court abdicates its responsibility to
                safeguard free expression when it reflexively bows before
                the shibboleth of military necessity.

  Id. at 370.



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         7.     Servicemembers who protect the constitutional freedoms cherished in

  this Nation can also invoke those same constitutional protections for breaches of their

  own liberties, despite military service. Here, Defendants have made it clear that they

  think Plaintiffs’ sacrificial act of swearing an oath to protect the Nation and support

  and defend the Constitution is accompanied by the sacrificial surrender of those same

  constitutional protections they defend. The Constitution opposes such callous

  indifference to sacrificial service, and so, too, should the Court. Indeed, “military life

  do[es] not, of course, render entirely nugatory in the military context the guarantees

  of the First Amendment.” Goldman v. Weinberger, 475 U.S. 503, 507 (1986). See also

  Crawford v. Cushman, 531 F.2d 1114, 1120 (2d Cir. 1976) (“[T]he military is subject

  to the Bill of Rights and its constitutional implications.” (emphasis added)). Put

  simply, “although First Amendment rights . . . may be ‘less’ for a soldier than a

  civilian, they are by no means lost to him.” Anderson v. Laird, 466 F.2d 283, 295 (D.C.

  Cir. 1972). “Individual freedom may not be sacrificed to military interests to the

  point that constitutional rights are abolished.” Id. (emphasis added).

         8.     Plaintiffs and all those dedicated members of the United States Armed

  Forces voluntarily and sacrificially answered their Nation’s call to defend the freedoms

  we enjoy. Yet, Defendants are demanding that these brave military members sacrifice

  their constitutional rights which they risk their lives to defend. Indeed, “[i]t is a basic

  tenet of our legal system that a government agency is not at liberty to ignore its own

  laws and that agency action in contravention of applicable statutes and regulations



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  is unlawful. The military departments enjoy no immunity from this proscription.”

  Dilley v. Alexander, 603 F.2d 914, 920 (D.C. Cir. 1979) (emphasis added) (citation

  omitted). For without question, when critical constitutional rights are at issue, “the

  Supreme Court [has] heard numerous constitutional challenges to military policies.”

  Singh v. Carter, 168 F. Supp. 3d 216, 225 (D.D.C. 2016) (cleaned up).

          9.    As the Supreme Court held less than two years ago, “even in a pandemic,

  the Constitution cannot be put away and forgotten.” Roman Catholic Diocese of

  Brooklyn v. Cuomo, 141 S. Ct. 63, 68 (2020) (emphasis added). When we have

  demanded so much of our Soldiers, Sailors, Airmen, and Marines, we owe them

  nothing less than the full measure of our own devotion and commitment to

  constitutional principles. Anything less would be desecrating the sacrifices these

  heroes have made for untold numbers of people when the call of duty demanded it,

  and would trample upon the graves of so many who made the ultimate sacrifice before

  them.

          10.   When the great American experiment was commenced, our Founders

  ordained and established the Constitution—including all of the rights it recognized

  and enshrined—“in Order to form a more perfect Union, establish Justice, insure

  domestic Tranquility, provide for the common defence, promote the general Welfare,

  and secure the Blessings of Liberty to ourselves and our Posterity.” U.S. Const.

  Pmbl. (emphasis added). To this very day, “we continue to strive toward ‘[that] more

  perfect union.’” Smith v. City of New Smyrna Beach, No. 6:11–cv–1110–Orl–37KRS,



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  2013 WL 5230659, at *1 (M.D. Fla. Sept. 16, 2013). That work is not easy, and

  sometimes it requires the intervention of the judiciary to set the guardrails for the

  protection of the Republic’s liberties.

         11.    Recognizing that times of crisis would arise, that such times might lead

  governments to seek to repress precious freedoms, and that the Republic’s survival

  depended upon defeating such repressive instincts, the genius of our founding

  document is that it placed explicit protections into the text of the Bill of Rights. And,

  importantly, “[o]ur Bill of Rights placed our survival on firmer ground—that of

  freedom, not repression.” Konigsberg v. State Bar of California, 366 U.S. 36, 79 (1961)

  (Black, J., dissenting).

         12.    During times of national crisis, the very times when we call upon the

  United States Armed Forces heroes most, “the fog of public excitement obscures the

  ancient landmarks set up in our Bill of Rights.” American Communist Ass’n, C.I.O. v.

  Douds, 339 U.S. 382, 453 (1950) (Black, J., dissenting). But, where the fog of public

  excitement is at its apex, “the more imperative is the need to preserve inviolate the

  constitutional rights of [the First Amendment].” De Jonge v. Oregon, 299 U.S. 353, 365

  (1937). Without doubt, “[t]herein lies the security of the Republic, the very foundation

  of constitutional government.” Id.

         13.    Indeed, “[t]imes of crisis take the truest measure of our commitment to

  constitutional values. Constitutional values are only as strong as our willingness to

  reaffirm them when they seem most costly to bear.” Hartness v. Bush, 919 F.2d 170,




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  181 (D.C. Cir. 1990) (Edwards, J., dissenting) (emphasis added). Our willingness to

  reaffirm our staunch commitment to our fundamental freedoms is imperative to the

  very survival of the American experiment. Plaintiffs have demonstrated their staunch

  commitment, and it is time that we honor ours. “History reveals that the initial steps

  in the erosion of individual rights are usually excused on the basis of an ‘emergency’

  or threat to the public. But the ultimate strength of our constitutional guarantees lies

  in the unhesitating application in times of crisis and tranquility alike.” United States

  v. Bell, 464 F.2d 667, 676 (2d Cir. 1972) (Mansfield, J., concurring) (emphasis added).

  For, “[i]f the provisions of the Constitution be not upheld when they pinch as well

  as when they comfort, they may as well be discarded.” Home Bldg. & Loan Ass’n v.

  Blaisdell, 290 U.S. 398, 483 (1934) (Sutherland, J., dissenting) (emphasis added).

        14.    Plaintiffs have demonstrated their commitments to the United States

  Constitution and the Nation’s future comfort, security, and prosperity. The Court

  should demand that the Nation return the favor. Telling Plaintiffs they must accept

  or receive a shot they oppose according to their sincerely held religious beliefs, or face

  court martial, dishonorable discharge, and other life altering disciplinary measures,

  disgraces the sacrifices these heroes have made.

        15.    Indeed, “Our nation asks the men and women in our military to serve,

  suffer, and sacrifice. But we do not ask them to lay aside their citizenry and give up

  the very rights they have sworn to protect.” U.S. Navy Seals v. Biden, No. 4:21-cv-1236-

  O, 2022 WL 34443, at *1 (N.D. Tex. Jan. 3, 2022) (granting preliminary injunction).



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         16.       “The Navy provides a religious accommodation process, but by all

   accounts, it is theater. The Navy has not granted a religious exemption to any vaccine

   in recent memory. It merely rubber stamps each denial.” Id. (emphasis added).

         17.       The same is true of every other branch. While there have been many

   requests, Defendants have granted a grand total of 0 religious exemptions. The United

   States Coast Guard has received 1,308 requests for religious exemption and has denied

   every request—all of which after a determination of sincerity. (See Doc. 73-6 at 4.) The

   Coast Guard has denied every appeal from religious exemption denials. (Id.)

         18.       The Coast Guard has granted 10 requests for medical exemption, both

   permanent and temporary, and possibly many more because the Coast Guard does not

   know the number of requests for an exemption that were submitted. (Doc. 73-6 at 4.)

         19.       As the Court recognized in its Order (ECF No. 40) on Plaintiffs’

   preliminary injunction motion over seven months ago, Defendants had received

   16,643 requests for religious exemption and “had granted none” at that time. (ECF

   No. 40 at 1.)

         20.       The Court noted, it is “quite plausible that each branch’s procedure for

   requesting a religious exemption is a ruse that will result inevitably in the

   undifferentiated (and therefore unlawful under RFRA) denial of each service

   member’s request.” (ECF No. 40 at 33.)




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         21.    The Court’s foresight proves true in hindsight, as Defendants have still

   failed to grant any meaningful religious exemptions. What was a ruse at the

   commencement of this action is still a ruse today.

         22.    Defendants’ vaccine mandate, ostensibly responding to a public health

   crisis, has created a national emergency of much greater magnitude. The mandate

   attacks the military from within by removing brave servicemembers from defending the

   Nation by land, air, and sea, and from without by eliminating the dedicated civilian

   defense contractors and employees providing everything from boots and uniforms, to

   cyber security, to the world’s most advanced stealth fighter jet—the F-35 Lightning

   II—solely because these protectors of our constitutional freedoms requested

   accommodation of their sincerely held religious beliefs under the same Constitution.

   The crisis created by Defendants’ mandates, applied to two million federal employees,

   is unnecessary and completely avoidable, but nonetheless imminent and real.

         23.    An injunction is needed now to prevent the immediate and irreparable

   injury to Plaintiffs imposed by these unlawful COVID-19 mandates.

                                         PARTIES

         24.    Plaintiff PILOT, United States Coast Guard, is an officer and fixed-wing

   aircraft pilot in the Coast Guard. He is qualified in the HC-144B aircraft and estimates

   the cost of his training borne by the taxpayers as at least $1,400,000. He commissioned

   in the Coast Guard in 2018. He has served the people of the United States for over 4

   years, enforcing the law and keeping people safe. PILOT participated in many search

   and rescue operations and has been critical in locating and coordinating aid for many


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   distressed mariners and persons in the water. He has flown countless law enforcement

   patrols of our nation’s southern border and has aided in the detection and interdiction

   of illegal immigrants and fishing vessels. The command climate where he is stationed

   is hostile to any religious beliefs and requests for religious accommodation that conflict

   with the vaccine mandate. On August 26, 2021, PILOT first learned about the vaccine

   mandate, and was compelled by his faith to submit a religious accommodation request

   (RAR). On September 27, 2021, PILOT submitted an RAR on the grounds that there

   are fetal cell lines used in the production and/or testing of all the currently available

   vaccines which is contrary to his understanding of the sanctity of human life, and that

   the status of his body as a temple of the Holy Spirit makes it a sin to accept medicines

   or treatments with unknown long term effects and numerous adverse events

   documented in only the first 12 months of use. After submitting his RAR, Pilot

   experienced retaliation and discrimination from his command in the form of

   restriction to a 50-mile radius from his home and duty station because he had merely

   submitted an RAR. PILOT’s Commanding Officer stated, regarding the purpose of

   the increased restrictions on PILOT as a result of submitting an RAR, “It’s not to just

   keep you from being infected, because if that was the case then we would maintain

   what we did before, which was early on, Admiral Netto, D8, said, you know, people

   go to locations where it’s a reduced infection rate in the area, then they’re permitted

   to do so. . . . That was what we were able to do in order to make sure everybody

   maintained a healthy mentality, and then when the vaccine was available, things did

   shift.” PILOT’s Commanding Officer has clearly stated that the Coast Guard has

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   created policy specifically intended to “make things difficult” for those seeking to

   obtain religious accommodation from the vaccine mandate, not for the purposes of

   “health and safety” or mitigating infection risk. On July 25, 2022, the Coast Guard

   released a message stating that all commands must initiate separation for all

   unvaccinated Coast Guard servicemembers by August 24, 2022.

         25.   Plaintiff LCDR PILOT, United States Coast Guard, is a Lieutenant

   Commander and aviator in the Coast Guard, having served honorably on active duty

   for over 13 years. A graduate of the United States Coast Guard Academy, LCDR

   PILOT has flown the HC-130J fixed-wing aircraft for over 2 years, and previously

   flew the MH-65C/D helicopter for 8 years. He has 3,010 military flight hours along

   with 234 simulator hours and has served in operational tours in Louisiana, Puerto

   Rico, and Alaska. He has served as the HC-130J Engineering Officer and the unit’s

   Assistant Engineering Officer. He estimates the cost of his training to exceed $10

   million over 13 years of military aviation. Since COVID-19 vaccines have been

   available to Coast Guard servicemembers, the Coast Guard has awarded LCDR

   PILOT two commendation medals. The vaccine mandate has placed LCDR PILOT

   in a position of conflict between his faith and a military order and must decide

   whether to remain faithful to his conscience and God or be separated from service.

   Based on his Roman Catholic Christian faith and absolute opposition to abortion, he

   cannot accept a vaccine that has been manufactured, or whose efficacy has been



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   tested and proved, using aborted fetal cells. LCDR PILOT submitted a Religious

   Accommodation Request (RAR) on September 24, 2021, which was denied on

   January 20, 2022, at which time he had already contracted and easily recovered from

   COVID-19. LCDR PILOT submitted an appeal from the denial on February 2, 2022.

   On February 4, 2022, one of the Coast Guard’s highest ranking officers, Vice

   Admiral Michael F. McAllister, stated to an assembly of Coast Guard officers, “If

   you are unvaccinated, you are not suited for service in the Coast Guard or any other

   military service.” On May 3, 2022, the Coast Guard denied LCDR PILOT’s appeal

   and on May 18 ordered him to be COVID-19 vaccinated. On June 24 the Coast

   Guard gave LCDR PILOT a Performance and Discipline Report 41-D, notifying him

   he was in violation of the UCMJ and subject to discipline, and required him to sign

   the report in acknowledgement of receipt. LCDR PILOT is subject to the Coast

   Guard’s July 25, 2022 message stating that all commands must initiate separation for

   all unvaccinated Coast Guard servicemembers by August 24, 2022.

         26.    Plaintiff LIEUTENANT 2, United States Coast Guard, is a Lieutenant

   in the Coast Guard and domiciled in Clearwater, Florida. On October 7, 2021,

   LIEUTENANT 2 submitted a request for a religious accommodation from

   Defendants’ vaccination requirement. LIEUTENANT 2 noted that he is a pro-life

   Christian who has sincerely held religious objections to injecting anything into his

   body that contains the product of aborted fetal cells. LIEUTENANT 2 noted that he

   believes every life is fearfully and wonderfully made and that accepting a vaccine in


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   any way associated with aborted fetal cells represents a grave sin and major moral

   problem. The reviewing officer determined LIEUTENANT 2’s request to be based

   upon sincerely held religious beliefs. On January 5, 2022, the Coast Guard denied

   LIEUTENANT 2’s religious accommodation request. On January 24, 2022,

   LIEUTENANT 2 appealed the denial. On May 4, 2022, Rear Admiral E.C. Jones,

   the appellate authority assigned to review LIEUTENANT 2’s appeal, denied the

   appeal, and the Coast Guard ordered LIEUTENANT 2 to receive a COVID-19

   vaccine. LIEUTENANT 2 is subject to the Coast Guard’s July 25, 2022 message

   stating that all commands must initiate separation for all unvaccinated Coast Guard

   servicemembers by August 24, 2022.

         27.    Plaintiff AVIONICS ELECTRICAL TECHNICIAN 1, United States

   Coast Guard (“AET1”), is a Petty Officer First Class stationed at Coast Guard Air

   Station Clearwater, and has faithfully served in the Coast Guard for almost 19 years.

   AET1 is a Navigator on HC-130H aircraft and currently runs the training program and

   flight schedules at his air station, which is the only Coast Guard air station flying

   HC-130H aircraft. There is a shortage of Navigators in the Coast Guard, and AET1 is

   the only Navigator at his air station trained to perform his training function. AET1

   has been a Christian from a young age, and his faith has grown through his marriage

   and the survival of his son who, at 5 weeks old in 2019, was diagnosed with a rare

   condition that only one of three babies survives and is usually diagnosed in utero, often

   leading to abortion. AET1 believes his son’s surviving and thriving, following a major

   surgery and multiple hospital stays, when many children with the same condition are

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   aborted, is only by God’s grace, which strengthens AET1’s faith and pro-life

   convictions. On September 10, 2021, AET1 submitted a request for religious

   accommodation from the COVID-19 vaccine mandate based on his sincere religious

   objections to receiving any vaccine involving the use of aborted fetal cell lines in

   development or production, which beliefs AET1 had confirmed through consultation

   with two military chaplains and the pastors of his home churches in California and

   Florida. The Coast Guard denied his request on February 15, 2022, and AET1 timely

   appealed the denial on March 8. The Coast Guard denied his appeal on May 6, 2022,

   and ordered him to report to medical for vaccination by May 23. AET1 reported to

   medical as ordered but politely refused vaccination according to his conscience. On

   May 26, 2022, the Coast Guard issued AET1 a negative form CG-3307(P&D-41D)

   stating he had violated Article 90 and Article 92 of the UCMJ, which AET1

   acknowledged by signing “under duress of religious freedoms.” AET1 is retirement

   eligible as of September 1, 2023 according to an approved retirement letter issued prior

   to the vaccine mandate, which status is directly threatened by the Coast Guard’s July

   25, 2022 message stating that all commands must initiate separation for all

   unvaccinated Coast Guard servicemembers by August 24, 2022.

         28.    Plaintiff MARINE SCIENCE TECHNICIAN 3, United States Coast

   Guard (“MST3”), is domiciled and stationed in St. Petersburg, Florida. On November

   2, 2021, MST3 submitted a request for religious accommodation from Defendants’

   vaccination requirement. MST3 noted that she is a pro-life Christian who has sincerely

   held religious objections to injecting anything into her body that contains the product

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   of aborted fetal cells. She also noted that injecting an mRNA vaccine into her body is

   accepting a synthetic product that alters God’s design for her. The reviewing officer

   determined MST3’s request to be based upon sincerely held religious beliefs. On

   February 9, 2022, the Coast Guard denied MST3’s religious accommodation request.

   On February 18, 2022, MST3 appealed the denial. On May 31, 2022, Rear Admiral

   E.C. Jones, the appellate authority assigned to review MST3’s appeal, denied the

   appeal, and the Coast Guard ordered MST3 to receive a COVID-19 vaccine. MST3 is

   subject to the Coast Guard’s July 25, 2022 message stating that all commands must

   initiate separation for all unvaccinated Coast Guard servicemembers by August 24,

   2022.

           29.   Plaintiff SENIOR CHIEF BOATSWAIN'S MATE, United States Coast

   Guard Reserve, is a Senior Chief Petty Officer in the Coast Guard Reserve and a

   resident of Polk County, Florida. Administratively, SENIOR CHIEF is the Leading

   Chief Petty Officer (LCPO) of the N7 Training Department at Maritime

   Expeditionary Security Squadron 10 (MSRON 10) Alpha Security Boat Company

   (SBC-A), where he leads a department of dedicated young servicemembers whom he

   mentors and loves. SENIOR CHIEF enlisted in the Coast Guard Reserve in June 1999

   as a young Petty Officer Third Class. He has over 23 years of faithful, uninterrupted

   service and zero disciplinary action. As a Boatswain's Mate, his primary operational

   duties and responsibilities throughout his career have revolved around the safe

   operation and navigation of multiple small craft. While on the water, he enforces



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   federal boating safety regulations, protects High Value Assets (HVA) vital to national

   security including US Naval warships, submarines, and critical ports and harbors.

   SENIOR CHIEF is also trained in Search and Rescue (SAR) and has responded to

   maritime distress calls ensuring the safety of civilians, citizens, and visitors of US

   waterways. SENIOR CHIEF's initial duty station assignment was with Port Security

   Unit 307 out of Tampa Florida. He mobilized to Boston Harbor to provide escort and

   waterside security for cruise ships diverted up from New York in the wake of the

   September 11th attacks. In 2004, SENIOR CHIEF deployed overseas for 10 months

   to Kuwait with the PSU to provide Force Protection to US assets. In 2005, he

   mobilized to New Orleans, Louisiana for 3 months to help in the search and rescue,

   recovery, and security of victims affected by Hurricane Katrina. In 2007, SENIOR

   CHIEF was reassigned to Coast Guard Small Boat Station Port Canaveral where he

   spent the majority of his time as Training Petty Officer and Coxswain of the station's

   small boats. He provided HVA protection to cruise ships and US Navy Trident

   submarines, as well as SAR and Law Enforcement. In 2010, SENIOR CHIEF

   returned to New Orleans to assist in the BP Oil Spill recovery. His primary

   responsibilities included environmental and wildlife protection. In 2018, he was

   reassigned to the Navy's Coastal Riverine Security Squadron 10 in Jacksonville,

   Florida. Here he served as one of only a few USCG representatives and as liaison. In

   2020, SENIOR CHIEF volunteered to mobilize with a sister company to go overseas

   and serve with his new Navy unit in Djibouti, Africa providing anti-piracy Force

   Protection to US and Coalition HVAs and port and harbor security and defense.

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   SENIOR CHIEF ran a security boat for eight months in-country in Djibouti during

   the height of the pandemic and had no access to any vaccine. No one in his crew, unit,

   or command contracted COVID. In late 2020, SENIOR CHIEF flew back to the US,

   and no one in his unit COVID. Since SENIOR CHIEF's return to drilling status, he

   has been conducting underway training evolutions on the unit's security boats,

   including successfully completing an annual two-week Active Duty Training

   (AT/ADT) in Little Creek, Virginia, where no participant contracted COVID.

   SENIOR CHIEF is a Christian with sincere religious beliefs in the sanctity of human

   life at all stages of development, which beliefs are strengthened by his personal

   experience with the birth and short but important life of his daughter, whom SENIOR

   CHIEF and his wife elected to bring into the world despite having been diagnosed in

   utero with multiple life-threatening conditions and recommended for abortion. The

   Coast Guard ordered SENIOR CHIEF to be COVID-19 vaccinated on September 26,

   2021. He submitted a religious accommodation request on October 26, 2021, citing his

   sincere religious objections to receiving any vaccine involving the use of aborted fetal

   cells in development or production. The Coast Guard denied his request on February

   13, 2022, and SENIOR CHIEF submitted a timely appeal on February 28, 2022. The

   Coast Guard denied his appeal on May 30, 2022. Despite his exemplary record and

   extensive successful field operations in the face of COVID without vaccination, the

   Coast Guard deems SENIOR CHIEF an unacceptable threat to his unit and has

   notified SENIOR CHIEF that he is subject to dismissal and separation. SENIOR

   CHIEF is subject to the Coast Guard’s July 25, 2022 message stating that all

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   commands must initiate separation for all unvaccinated Coast Guard servicemembers

   by August 24, 2022.

         30.    Defendant LLOYD AUSTIN, in his official capacity as the Secretary of

   the United States Department of Defense (DoD), is responsible for enacting,

   implementing, and enforcing the federal COVID-19 vaccine mandate for members of

   the United States Armed Forces under DoD authority. Specifically, Secretary Austin

   issued the August 24 Memorandum for Senior Pentagon Leadership and other officials

   mandating that all military servicemembers under Department of Defense authority

   receive a COVID-19 vaccine. Secretary Austin is sued in his official capacity.

         31.    ALEJANDRO MAYORKAS, in his official capacity as Secretary of the

   Department of Homeland Security, is responsible for enacting, implementing, and

   enforcing the federal COVID-19 vaccine mandate for members of the United States

   Coast Guard and other civilian federal employees and contractors. Secretary Austin

   issued a directive, in accordance with President Biden’s September 6 Executive

   Orders, mandating that all Department of Homeland Security employees, including

   United States Coast Guard servicemembers, receive a COVID-19 vaccine. Secretary

   Mayorkas is sued in his official capacity.

         32.    Defendant ADMIRAL LINDA FAGAN, in her official capacity as

   Commandant of the United States Coast Guard, is the highest ranking Coast Guard

   officer and has operational control over the Coast Guard. Admiral Fagan is

   responsible for enacting, implementing, and enforcing the Federal COVID-19 Vaccine




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   Mandate for members of the United States Coast Guard. Admiral Fagan is sued in her

   official capacity.

                              JURISDICTION AND VENUE

          33.    This action arises under the First Amendment to the United States

   Constitution. This action also arises under federal statutory law, namely the Religious

   Freedom Restoration Act, 42 U.S.C. §§ 2000bb to 2000bb-4, and the Emergency Use

   Authorization provisions of the Federal Food Drug and Cosmetic Act, 21 U.S.C.

   § 360bbb-3, as applied by 10 U.S.C. §§ 1107 and 1107a.

          34.    This Court has jurisdiction over this action pursuant to 28 U.S.C.

   §§ 1331, 1343, and 1367.

          35.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e) because a

   this action is against an officer or employee of the United States and is where a plaintiff

   resides.

          36.    This Court has the authority to grant the requested declaratory relief

   under the Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202, implemented through

   Rule 57, Federal Rules of Civil Procedure, and the requested injunctive relief under 28

   U.S.C. § 2202 and Rule 65, Federal Rules of Civil Procedure.

          37.    This Court has the authority to award the requested costs and attorney’s

   fees under 28 U.S.C. §§ 1920 and 2412 and 42 U.S.C. § 1988.




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                                GENERAL ALLEGATIONS

          A.     THE FEDERAL COVID-19 VACCINE MANDATE.

          38.    On September 9, 2021, President Biden issued Executive Order 14043,

   Requiring Coronavirus Disease 2019 Vaccination for Federal Employees, requiring all

   federal employees to receive one of the COVID-19 vaccines as a condition of

   employment. (A true and correct copy of Executive Order 14043 is docketed at ECF

   No. 1-1 as EXHIBIT A and incorporated herein.)

          39.    In Executive Order 14043, President Biden stated: “I have determined

   that to promote the health and safety of the Federal workforce and the efficiency of

   the civil service, it is necessary to require COVID-19 vaccination for all Federal

   employees . . . .” (Ex. A at 2.)

          40.    Consistent with that determination, Executive Order 14043 states: “Each

   agency shall implement, to the extent consistent with applicable law, a program to

   require COVID-19 vaccination for all of its Federal employees . . . .” (Ex. A at 2.)

          41.    Also on September 9, 2021, President Biden issued Executive Order

   14042, Ensuring Adequate COVID Safety Protocols for Federal Contractors, requiring

   that all federal contractors and subcontractors “comply with all guidance for

   contractor or subcontractor workplace locations published by the Safer Federal

   Workforce Task Force.” (A true and correct copy of Executive Order 14042 is

   docketed at ECF No. 1-2 as EXHIBIT B and incorporated herein.) Pursuant to

   Executive Order 14042, the Safer Federal Workforce Task Force issued its Guidance




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   for Federal Contractors and Subcontractors on September 24, 2021, requiring that all

   employees of federal contractors and subcontractors receive one of the COVID-19

   vaccines as a condition of performing any contract for work for the Federal

   Government. (A true and correct copy of the Guidance is docketed at ECF No. 1-3 as

   Exhibit C and incorporated herein.)

         42.    On August 24, 2021, Secretary Austin issued a Memorandum for Senior

   Pentagon Leadership, Commanders of the Combatant Commands, and Defense

   Agency and DoD Field Activity Directors, Subject: Mandatory Coronavirus Disease

   2019 Vaccination of Department of Defense Service Members, mandating that all

   military servicemembers under DoD authority receive the COVID-19 vaccine. (A true

   and correct copy of the Secretary’s August 24 Memorandum is docketed at ECF No.

   1-4 as EXHIBIT D and incorporated herein.)

         43.    In his Memorandum, Secretary Austin stated: “After careful consultation

   with medical experts and military leadership, and with the support of the President, I

   have determined that mandatory vaccination against coronavirus disease 2019

   (COVID-19) is necessary to protect the Force and defend the American people.”

   (Exhibit C at 1.)

         44.    Secretary Austin further stated: “I therefore direct the Secretaries of the

   Military Departments to immediately begin full vaccination of all members of the

   Armed Forces under DoD authority on active duty or in the Ready Reserve, including

   the National Guard, who are not fully vaccinated against COVID-19.” (Exhibit C at

   1.)

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         45.    Though not even possible right now (see infra), the Secretary stated that

   mandatory vaccination “will only use COVID-19 vaccines that receive full licensure

   from the Food and Drug Administration (FDA), in accordance with FDA-approved

   labeling and guidance.” (Ex. C at 1.)

         46.    President Biden’s Executive Orders, Secretary Austin’s Memorandum,

   and all related, resulting, subsequent, amended, or superseding federal orders or

   directives mandating the vaccination of United States Armed Forces servicemembers,

   federal civilian employees, or federal civilian contractors, are sometimes collectively

   referred to herein as the “Federal COVID-19 Vaccine Mandate.”

         47.    On July 25, 2022, the Coast Guard released a message stating that all

   commands must initiate separation for all unvaccinated Coast Guard

   servicemembers within 30 days after the message.

         B.     PLAINTIFFS’ SINCERELY HELD RELIGIOUS BELIEFS.

         48.    Plaintiffs all have sincerely held religious beliefs, rooted in Scripture, that

   preclude them from complying with the Federal COVID-19 Vaccine Mandate because

   of the connections between the various COVID-19 vaccines and the cell lines of

   aborted fetuses, whether in the vaccines’ origination, production, development,

   testing, or other inputs. Plaintiffs also have sincerely held religious beliefs, rooted in

   Scripture, that their bodies are temples of the Holy Spirit and that they cannot place

   anything into their Temples without confirmation and conviction from the Holy Spirit.




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         49.     A fundamental component of Plaintiffs’ sincerely held religious beliefs is

   that all life is sacred, from the moment of conception to natural death, and that

   abortion is the murder of an innocent life and a grave sin against God.

         50.     Plaintiffs’ sincerely held religious beliefs are rooted in Scripture’s

   teachings that “[a]ll Scripture is given by inspiration of God, and is profitable for

   doctrine, for reproof, for correction, [and] for instruction in righteousness.” 2 Timothy

   3:16 (KJV).

         51.     Because of that sincerely held religious belief, Plaintiffs believe that they

   must conform their lives, including their decisions relating to medical care, to the

   commands and teaching of Scripture.

         52.     Plaintiffs have sincerely held religious beliefs that God forms children in

   the womb and knows them prior to birth, and that because of this, life is sacred from

   the moment of conception to natural death. See Psalm 139:13–14 (ESV) (“For you

   formed my inward parts; you knitted me together in my mother’s womb. I praise you,

   for I am fearfully and wonderfully made.”); Psalm 139:16 (ESV) (“Your eyes saw my

   unformed substance; in your book were written, every one of them, the days that were

   formed for me, when as yet there was none of them.”); Isaiah 44:2 (ESV) (“Thus says

   the LORD who made you, who formed you from the womb . . . .”); Isaiah 44:24 (ESV)

   (“Thus says the LORD, your Redeemer, who formed you from the womb: ‘I am the

   Lord, who made all things . . . .’”); Isaiah 49:1b (ESV) (“The LORD called me from the

   womb, from the body of my mother he named my name.”); Isaiah 49:5 (ESV) (“And

   now the LORD says, he who formed me from the womb to be his servant . . . .”);

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   Jeremiah 1:5 (ESV) (“‘Before I formed you in the womb I knew you, and before you

   were born I consecrated you; I appointed you a prophet to the nations.’”).

         53.    Plaintiffs also have sincerely held religious beliefs that every child’s life is

   sacred because each is made in the image of God. See Genesis 1:26–27 (ESV) (“Then

   God said, ‘Let us make man in our image, after our likeness. . . . So God created man

   in his own image, in the image of God he created him; male and female he created

   them.’” (footnote omitted)).

         54.    Plaintiffs have sincerely held religious beliefs that because life is sacred

   from the moment of conception, the killing of that innocent life is the murder of an

   innocent human in violation of Scripture. See, e.g., Exodus 20:13 (ESV) (“‘You shall

   not murder.’”); Exodus 21:22–23 (ESV) (imposing death penalty for killing of an

   unborn child); Exodus 23:7 (ESV) (“‘[D]o not kill the innocent and righteous . . . .’”);

   Genesis 9:6 (ESV) (“‘Whoever sheds the blood of man, by man shall his blood be shed,

   for God made man in his own image.’”); Deuteronomy 27:25 (ESV) (“Cursed be anyone

   who takes a bribe to shed innocent blood.” (internal quotation marks omitted));

   Proverbs 6:16–17 (ESV) (“There are six things that the LORD hates, seven that are an

   abomination to him: . . . hands that shed innocent blood . . . .”).

         55.    The Hebrew word for “abomination” in the text above is ‫( תֹו ֵע ָבה‬to`eba).

   The verbal form is “abhor,” “loath,” “detest,” and “exclude.” Twelve times the Book

   of Proverbs uses ‫ תֹו ֵע ָבה‬in reference to an “abomination to the LORD.” (‫ יהוה‬or

   Yahweh). The word is also used in conjunction with the Ammonites and the

   Ashtoreth, the Sidonians, Chemosth, and Moab. Some of these nations sacrificed their

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   children to Baal. Indeed, Jeremiah 19:4–9, refers to the shedding of innocent blood by

   sacrificing children as the reason for judgement against Judah. Abortion is the modern-

   day sacrifice of children made in the image of God. Plaintiffs do not want to be part

   of such an “abomination.” They do not want indirectly or directly to be in any way

   associated with abortion. To do so is abhorrent, loathsome, detestable, abominable to

   God. In short, to require these employees to inject a substance into their bodies that

   has any association (no matter how near or remote to abortion) is a sin against their

   Creator, their Lord, and their Savior.

         56.    Plaintiffs also have sincerely held religious beliefs that it would be better

   to tie millstones around their necks and be drowned in the sea than to bring harm to

   an innocent child. See Matthew 18:6; Luke 17:2 (ESV).

         57.    Plaintiffs also have sincerely held religious beliefs that their bodies are

   temples of the Holy Spirit, and that to inject medical products that have any

   connection whatsoever to aborted fetal cell lines would be defiling the temple of the

   Holy Spirit. (See 1 Corinthians 6:15–20 (ESV) (“Do you not know that your bodies are

   members of Christ? . . . Or do you not know that your body is a temple of the Holy

   Spirit within you, whom you have from God? You are not your own, for you were

   bought with a price. So glorify God in your body.”).

         58.    Plaintiffs’ religious beliefs compel them to not condone, support, justify,

   or benefit (directly or indirectly) from the taking of innocent human life via abortion,

   and that to do so is sinning against God.




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          59.    Plaintiffs’ sincerely held religious beliefs preclude them from accepting

   any one of the three currently available COVID-19 vaccines derived from, produced

   or manufactured by, tested on, developed with, or otherwise connected to aborted fetal

   cell lines.

          60.    As reported by the North Dakota Department of Health, in its handout

   literature for those considering one of the COVID-19 vaccines, “[t]he non-replicating

   viral vector vaccine produced by Johnson & Johnson did require the use of fetal cell

   cultures, specifically PER.C6, in order to produce and manufacture the vaccine.”

   See North Dakota Health, COVID-19 Vaccines & Fetal Cell Lines (Apr. 20, 2021),

   https://www.health.nd.gov/sites/www/files/documents/COVID%20Vaccine%20P

   age/COVID-19_Vaccine_Fetal_Cell_Handout.pdf.

          61.    The Louisiana Department of Health likewise confirms that the Johnson

   & Johnson COVID-19 vaccine used the PER.C6 fetal cell line, which “is a retinal cell

   line that was isolated from a terminated fetus in 1985.” La. Dep’t of Public Health,

   You Have Questions, We Have Answers: COVID-19 Vaccine FAQ (Dec. 21, 2020),

   https://ldh.la.gov/assets/oph/Center-PHCH/Center-PH/immunizations/

   You_Have_Qs_COVID-19_Vaccine_FAQ.pdf (emphasis added).

          62.    Scientists at the American Association for the Advancement of Science

   have likewise published research showing that the Johnson & Johnson vaccine used

   aborted fetal cell lines in the development and production phases of the vaccine.




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   Meredith Wadman, Vaccines that use human fetal cells draw fire, Science (June 12, 2020),

   available at https://science.sciencemag.org/content/368/6496/1170.full.

         63.    The same is true of the Moderna and Pfizer-BioNTech mRNA vaccines.

   The Louisiana Department of Health’s publications again confirm that aborted fetal

   cells lines were used in the “proof of concept” phase of the development of their

   mRNA vaccines. See La. Dep’t of Public Health, supra.

         64.    The North Dakota Department of Health likewise confirms: “Early in

   the development of mRNA vaccine technology, fetal cells were used for ‘proof of

   concept’ (to demonstrate how a cell could take up mRNA and produce the SARS-

   CoV-2 spike protein) or to characterize the SARS-CoV-2 spike protein.” N.D.

   Health, supra (emphasis added).

         65.    The Chief Scientific Officer and Senior Director of Worldwide Research

   for Pfizer have also been reported to demonstrate that its COVID-19 vaccine is derived

   from aborted fetal cells and have made statements that they wanted to keep that

   information from the public. See PFIZER LEAKS: Whistleblower Goes On Record, Reveals

   Internal Emails from Chief Scientific Officer & Senior Director of Worldwide Research

   Discussing COVID Vaccine ... ‘We Want to Avoid Having the Information on the Fetal Cells

   Floating      Out        There’,       ProjectVeritas       (Oct.       6,       2021),

   https://www.projectveritas.com/news/pfizer-leaks-whistleblower-goes-on-record-

   reveals-internal-emails-from-chief/.




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         66.    Specifically, Vanessa Gelman, Pfizer Senior Director of Worldwide

   Research: “From the perspective of corporate affairs, we want to avoid having the

   information on fetal cells floating out there…The risk of communicating this right now

   outweighs any potential benefit we could see, particularly with general members of the

   public who may take this information and use it in ways we may not want out there.

   We have not received any questions from policy makers or media on this issue in the

   last few weeks, so we want to avoid raising this if possible.” Id.

         67.    And, Philip Dormitzer, Pfizer’s Chief Scientific Officer is reported as

   saying that he wanted to keep the information secret because of the objections that

   pro-life individuals, such as Plaintiffs in this action, would have: “HEK293T cells,

   used for the IVE assay, are ultimately derived from an aborted fetus. On the other

   hand, the Vatican doctrinal committee has confirmed that they consider it acceptable

   for Pro-Life believers to be immunized. Pfizer’s official statement couches the answer

   well and is what should be provided in response to an outside inquiry.” Id.

         68.    Because all three of the currently available COVID-19 vaccines are

   developed and produced from, tested with, researched on, or otherwise connected with

   the aborted fetal cell lines HEK-293 and PER.C6, Plaintiffs’ sincerely held religious

   beliefs compel them to abstain from obtaining or injecting any of these products into

   their body, regardless of the perceived benefit or rationale.

         69.    Plaintiffs have sincerely held religious beliefs that their bodies are temples

   of the Holy Spirit, and that to inject medical products that have any connection

   whatsoever to aborted fetal cell lines would be defiling the temple of the Holy Spirit.

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              70.   Plaintiffs sincerely religious beliefs that their bodies are temples of the

   Holy Spirit and that they are to glorify God with their bodies lays the foundation for

   everything they do, consume, or inject into their bodies. From this foundation they

   make studied and reasonable decisions about what is good and what is not good or

   may not be good for their bodies. To knowingly abuse their bodies by engaging in a

   dishonorable act, or consuming or injecting a substance that will or may produce

   adverse consequences, is a sin against God. Based on this foundation, Plaintiffs would

   consume pure water over a similarly clear liquid they know or reasonably conclude is

   harmful to the body. This belief and other sincerely held religious beliefs are

   foundational to all their decisions and actions and are not limited to aborted fetal cell

   lines.

              71.   Plaintiffs have sincerely held religious beliefs that the Holy Spirit—

   through prayer and the revelation of Scripture—guide them in all decisions they make

   in life.

              72.   Plaintiffs have sincerely held religious beliefs that Jesus Christ came to

   this earth, died on the cross for their sins, was resurrected three days later, and that

   when He ascended to Heaven, He sent the Holy Spirit to indwell His believers and to

   guide them in all aspects of their lives. See John 16:7 (ESV) (“Nevertheless, I tell you

   the truth: it is to your advantage that I go away, for if I do not go away, the Helper

   will not come to you. But if I go, I will send him to you.”); John 14:26 (ESV) (“But the

   Helper, the Holy Spirit, whom the Father will send in my name, he will teach you all

   things and bring to your remembrance all that I have said to you.”).

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         73.    Plaintiffs have sincerely held religious beliefs that the Holy Spirit was

   given to them by God to reprove them of righteousness and sin and to guide them into

   all truth. See John 16:8–13 (ESV) (“And when he comes, he will convict the world

   concerning sin and righteousness and judgment . . . . When the Spirit of truth comes,

   he will guide you into all the truth, for he will not speak on his own authority, but

   whatever he hears he will speak, and he will declare to you the things that are to

   come.”).

         74.    Plaintiffs also have sincerely held religious beliefs that they will receive

   answers to their questions through prayer and supplication, including for decisions

   governing their medical health. See James 1:5 (ESV) (“If any of you lacks wisdom, let

   him ask God, who gives generously to all without reproach, and it will be given him.”);

   Mark 11:24 (ESV) (“Therefore I tell you, whatever you ask in prayer, believe that you

   have received it, and it will be yours.”); Philippians 4:6–7 (ESV) (“[D]o not be anxious

   about anything, but in everything by prayer and supplication with thanksgiving let

   your requests be made known to God. And the peace of God, which surpasses all

   understanding, will guard your hearts and your minds in Christ Jesus.”); 1 John 4:14–

   15 (ESV) (“And we have seen and testify that the Father has sent his Son to be the

   Savior of the world. Whoever confesses that Jesus is the Son of God, God abides in

   him, and he in God.”).

         75.    Through much prayer and reflection, Plaintiffs have sought wisdom,

   understanding, and guidance on the proper decisions to make concerning these

   COVID-19 vaccines, and Plaintiffs have been convicted by the Holy Spirit that

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   accepting any of the three currently available vaccines is against the teachings of

   Scripture and would be a sin.

         76.    Plaintiffs have sincerely held religious beliefs that compel them to follow

   the teachings of the Holy Spirit, who has not given them peace, comfort, or

   admonition to accept any of the three currently available COVID-19 vaccines.

         77.    Plaintiffs have sincerely held religious beliefs that they are being guided

   and instructed by the Holy Spirit not to accept any of the three currently available

   COVID-19 vaccines and that it would be a sin against God to do so.

         C.     PLAINTIFFS’ WILLINGNESS TO COMPLY WITH SAFE AND
                TESTED ALTERNATIVES TO UNIVERSAL VACCINATION AS
                ACCOMMODATION      OF   THEIR  SINCERELY   HELD
                RELIGIOUS BELIEFS.

         78.    Plaintiffs have offered, and are ready, willing, and able to comply with

   all reasonable health and safety requirements to facilitate their religious exemption and

   accommodation from the Federal COVID-19 Vaccine Mandate.

         79.    Plaintiffs have all informed their respective commanding officers that

   they are willing to comply with reasonable conditions that were sufficient for nearly

   two years, permitting them to fulfill their sworn duties and faithful service to their

   employers and a grateful nation, and which reasonable conditions continued from the

   FDA’s Emergency Use Authorization (EUA) of the first COVID-19 vaccine in

   December 2020, until August 24, 2021 for military servicemembers. Nothing has

   changed except for the Vaccine Mandate, and thus the past proves a good example of

   present and future reasonable accommodations.


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             80.   The accommodations which have been ongoing for nearly two years are

   certainly reasonable under the accumulating scientific evidence. Indeed,

             A preliminary study has shown that in the case of a breakthrough
             infection, the Delta variant is able to grow in the noses of vaccinated
             people to the same degree as if they were not vaccinated at all. The
             virus that grows is just as infectious as that in unvaccinated people,
             meaning vaccinated people can transmit the virus and infect others.

   Sanjay Mishra, Evidence mounts that people with breakthrough infections can spread Delta

   easily,          National          Geographic          (Aug.           20,          2021),

   https://www.nationalgeographic.com/science/article/evidence-mounts-that-people-

   with-breakthrough-infections-can-spread-delta-easily (emphasis added); see also

   Statement from CDC Director Rochelle P. Walensky, MD, MPH on Today’s MMWR (July

   30, 2021), https://www.cdc.gov/media/releases/2021/s0730-mmwr-covid-19.html

   (noting “the Delta infection resulted in similarly high SARS-CoV-2 viral loads in

   vaccinated and unvaccinated people” (emphasis added).)

             81.   The CDC Director also admitted that the currently available COVID-19

   vaccines do not prevent transmission. See Tim Hains, CDC Director: Vaccines No Longer

   Prevent         You     From       Spreading     COVID         (Aug.         6,     2021),

   https://www.realclearpolitics.com/video/2021/08/06/cdc_director_vaccines_no_lo

   nger_prevent_you_from_spreading_covid.html#!.

             82.   Other reasonable protocols beyond the currently-available COVID

   vaccines remain sufficient to prevent the spread of COVID-19 among military




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   servicemembers, and constitute a reasonable alternative to mandatory, universal

   vaccination as an accommodation of sincerely held religious beliefs.

            83.   The United States District Court for the Western District of Louisiana

   recently issued a TRO against a medical school for the school’s failure to grant

   religious exemptions when other reasonable accommodations were available and

   mandatory vaccination was not the least restrictive means of achieving the school’s

   interest in protecting the school’s student body. See Magliulo v. Edward Via College of

   Osteopathic Medicine, No. 3:21-CV-2304, 2021 WL 36799227 (W.D. La. Aug. 17,

   2021).

            84.   The United States District Court for the Western District of Michigan

   issued a TRO against a university for its failure to allow students with religious

   objections to vaccination to participate in athletics and other extracurricular activities

   when other reasonable alternatives were available as a reasonable accommodation for

   their religious beliefs. See Dahl v. Bd. of Trustees of W. Mich. Univ., No. 1:21-cv-757, 558

   F. Supp. 3d 561 (W.D. Mich. Aug. 31, 2021). The Sixth Circuit Court of Appeals

   affirmed that preliminary injunction in its order refusing to stay the preliminary

   injunction. See Dahl v. Bd. of Trustees of W. Mich. Univ., No. 21-2945, 15 F.4th 728 (6th

   Cir. Oct. 7, 2021).

            85.   In U.S. Navy Seals v. Biden, No. 4:21-cv-1236-O, 2022 WL 34443 (N.D.

   Tex. Jan. 3, 2022), the United States District Court for the Northern District of Texas

   entered a preliminary injunction against the United States Navy’s sham process for

   requesting and receiving a religious exemption and accommodation. Indeed, the Court

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   there noted that “The Navy provides a religious accommodation process, but by all

   accounts, it is theater. The Navy has not granted a religious exemption to any vaccine

   in recent memory. It merely rubber stamps each denial.” Id. at *1 (emphasis added).

         86.    In State v. Nelson, No. 8:21-cv-2524-SDM-TGW, 2021 WL 6108948, *11

   (M.D. Fla. Dec. 22, 2021) (Merryday, J.), this Court held that Defendants’ COVID-

   19 vaccine mandate on federal contractors was also unlawful and issued a preliminary

   injunction. This Court held that the mandate was issued in excess of the statutory

   jurisdiction provided to Defendants.

         87.    The Sixth Circuit, too, has held that the President and the agencies to

   whom he purportedly delegated authority for the vaccine mandate on federal

   contractors lacked authority to issue a mandate on federal contractors. See Kentucky v.

   Biden, No. 21-6147, 23 F.4th 585 (6th Cir. Jan. 5, 2022). Indeed, “if the President can

   order medical interventions in the name of reducing absenteeism, what is the logical

   stopping point of that power?” Id. at 610. Defendants’ vaccine mandate on federal

   contractors “requires vaccination everywhere and all the time. It is not ‘anchored’ to

   the statutory text, not is it even ‘anchored’ to the work of federal contractors.” Id.

   (emphasis added).

         88.    The United States Military Health System allows three different types of

   permanent medical exemptions from compulsory immunizations: (1) “determination

   by a medical provider that vaccination will seriously endanger a patient's health;” (2)

   “‘Medical, Reactive’ exemption . . . based on previous severe reaction . . . after a



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   specific vaccine;” and (3) “‘Medical, Immune’ exemption . . . based on evidence of

   existing immunity to a vaccine-preventable infection.” See Military Health System,

   Immunization Exemption Guidance, Health.mil, https://www.health.mil/Military-

   Health-Topics/Health-Readiness/Immunization-Healthcare/Clinical-Consultation-

   Services/Exemption-Guidance (last visited June 29, 2022).

         89.    Several Plaintiffs and countless other class members were previously

   infected with COVID-19, have serologic test results demonstrating natural antibodies

   and immunity to COVID-19, and otherwise qualify for the exemptions ostensibly

   available for servicemembers. Plaintiffs, however, have been denied the ability to even

   requests the officially available exemptions.

         D.     PLAINTIFFS’ REQUESTS FOR AN ACCOMMODATION FROM
                THE MANDATORY COVID-19 VACCINE POLICY.

         90.    On September 27, 2021, PILOT submitted a religious accommodation

   request (RAR) on the grounds that there are fetal cell lines used in the production

   and/or testing of all the currently available vaccines which is contrary to his

   understanding of the sanctity of human life, and that the status of his body as a temple

   of the Holy Spirit makes it a sin to accept medicines or treatments with unknown long

   term effects and numerous adverse events documented in only the first 12 months of

   use. After submitting his RAR, Pilot experienced retaliation and discrimination from

   his command in the form of a travel restriction to a 50-mile radius from his home and

   duty station merely because he had submitted an RAR. PILOT is subject to the Coast




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   Guard’s July 25, 2022 message stating that all commands must initiate separation for

   all unvaccinated Coast Guard servicemembers by August 24, 2022.

         91.    LCDR PILOT submitted a Religious Accommodation Request (RAR)

   on September 24, 2021, based on his Roman Catholic Christian faith and absolute

   opposition to abortion, under which he cannot accept a vaccine that has been

   manufactured, or whose efficacy has been tested and proved, using aborted fetal

   cells. The Coast Guard denied LCDR PILOT’s RAR on January 20, 2022. LCDR

   PILOT submitted an appeal from the denial on February 2, 2022. On May 3, 2022,

   the Coast Guard denied LCDR PILOT’s appeal and on May 18 ordered him to be

   COVID-19 vaccinated. On June 24 the Coast Guard gave LCDR PILOT a

   Performance and Discipline Report 41-D, notifying him he was in violation of the

   UCMJ and subject to discipline, and required him to sign the report in

   acknowledgement of receipt. LCDR PILOT is subject to the Coast Guard’s July 25,

   2022 message stating that all commands must initiate separation for all unvaccinated

   Coast Guard servicemembers by August 24, 2022.

         92.    On October 7, 2021, LIEUTENANT 2 submitted a request for a religious

   accommodation from Defendants’ vaccination requirement. LIEUTENANT 2 noted

   that he is a pro-life Christian who has sincerely held religious objections to injecting

   anything into his body that contains the product of aborted fetal cells. LIEUTENANT

   2 noted that he believes every life is fearfully and wonderfully made and that accepting

   a vaccine in any way associated with aborted fetal cells represents a grave sin and


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   major moral problem. Because of this, LIEUTENANT 2requested an accommodation

   for his beliefs. LIEUTENANT 2’s request was determined to be based upon sincerely

   held religious beliefs by the reviewing officer. On January 5, 2022, LIEUTENANT 2’s

   request for a religious accommodation was denied. On January 24, 2022,

   LIEUTENANT 2 submitted his appeal of the denial of his requested religious

   accommodation. On May 4, 2022, Rear Admiral E.C. Jones, the appellate authority

   assigned to review LIEUTENANT 2’s appeal, denied his request for a religious

   accommodation, and LIEUTENANT 2 was ordered to receive the vaccine.

   LIEUTENANT 2 is subject to the Coast Guard’s July 25, 2022 message stating that

   all commands must initiate separation for all unvaccinated Coast Guard

   servicemembers by August 24, 2022.

         93.   On September 10, 2021, AET1 submitted a request for religious

   accommodation from the COVID-19 vaccine mandate based on his sincere religious

   objections to receiving any vaccine involving the use of aborted fetal cell lines in

   development or production, which beliefs AET1 had confirmed through consultation

   with two military chaplains and the pastors of his home churches in California and

   Florida. The Coast Guard denied his request on February 15, 2022, and AET1 timely

   appealed the denial on March 8. The Coast Guard denied his appeal on May 6, 2022,

   and ordered him to report to medical for vaccination by May 23. AET1 reported to

   medical as ordered but politely refused vaccination according to his conscience. On

   May 26, 2022, the Coast Guard issued AET1 a negative form CG-3307(P&D-41D)

   stating he had violated Article 90 and Article 92 of the UCMJ, which AET1

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   acknowledged by signing “under duress of religious freedoms.” AET1 is retirement

   eligible as of September 1, 2023 according to an approved retirement letter issued prior

   to the vaccine mandate, which status is directly threatened by the Coast Guard’s July

   25, 2022 message stating that all commands must initiate separation for all

   unvaccinated Coast Guard servicemembers by August 24, 2022.

           94.   On November 2, 2021, MST3 submitted a request for a religious

   accommodation from Defendants’ vaccination requirement. MST3 noted that she is

   a pro-life Christian who has sincerely held religious objections to injecting anything

   into her body that contains the product of aborted fetal cells. She also noted that

   injecting an mRNA vaccine into her body is accepting a synthetic product that alters

   God’s design for her. Because of this, MST3 requested an accommodation for her

   beliefs. MST3’s request was determined to be based upon sincerely held religious

   beliefs by the reviewing officer. On February 9, 2022, MST3’s request for a religious

   accommodation was denied. On February 18, 2022, MST3 submitted her appeal of

   the denial of her requested religious accommodation. On May 31, 2022, Rear Admiral

   E.C. Jones, the appellate authority assigned to review MST3’s appeal, denied the

   appeal, and the Coast Guard ordered MST3 to receive a COVID-19 vaccine. MST3 is

   subject to the Coast Guard’s July 25, 2022 message stating that all commands must

   initiate separation for all unvaccinated Coast Guard servicemembers by August 24,

   2022.




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         95.    The Coast Guard ordered SENIOR CHIEF to be COVID-19 vaccinated

   on September 26, 2021. He submitted a religious accommodation request on October

   26, 2021, citing his sincere religious objections to receiving any vaccine involving the

   use of aborted fetal cells in development or production. The Coast Guard denied his

   request on February 13, 2022, and SENIOR CHIEF submitted a timely appeal on

   February 28, 2022. The Coast Guard denied his appeal on May 30, 2022. Despite his

   exemplary record and extensive successful field operations in the face of COVID

   without vaccination, the Coast Guard deems SENIOR CHIEF an unacceptable threat

   to his unit and has notified SENIOR CHIEF that he is subject to dismissal and

   separation. SENIOR CHIEF is subject to the Coast Guard’s July 25, 2022 message

   stating that all commands must initiate separation for all unvaccinated Coast Guard

   servicemembers by August 24, 2022.

         96.    While many Plaintiffs’ and class members’ religious exemption requests

   have already been denied, the still pending requests have been effectively denied, as

   Plaintiffs and class members with pending requests have been threatened with

   dishonorable discharge, court martial, termination, or other life-altering disciplinary

   measures for merely seeking accommodation of their sincerely held religious beliefs,

   and some of these Plaintiffs have been informed by their superiors that no religious

   exemption or accommodation will be given so there is no point in even making a

   request.




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         97.    For example, on October 14, 2021, Vice Admiral William Galinis,

   Commander, Naval Sea Systems Command (NAVSEA), sent a warning to his entire

   command, comprising more than 85,000 civilian and military personnel: “The

   Executive Order mandating vaccinations for all federal employees has provided clear

   direction. We are moving quickly toward a workforce where vaccinations are a

   condition of employment. Frankly, if you are not vaccinated, you will not work for

   the U.S. Navy.”

         E.     THE ONLY COVID-19 VACCINES AVAILABLE IN THE UNITED
                STATES ARE ADMINISTERED UNDER EMERGENCY USE
                AUTHORIZATION BECAUSE THERE IS NO FDA APPROVED
                COVID-19 VACCINE CURRENTLY AVAILABLE IN THE
                UNITED STATES.

         98.    Despite the misreporting, there is no COVID-19 vaccine available in the

   United States that has received full FDA licensing and approval.

         99.    On August 23, 2021, the United States Food and Drug Administration

   issued two separate letters pertaining to two separate COVID-19 vaccines. See Letter,

   United States Food and Drug Administration to BioNTech Manufacturing GmbH

   (Aug. 23, 2021), https://www.fda.gov/media/151710/download (“BioNTech

   Letter”); Letter, United States Food and Drug Administration to Pfizer, Inc. (Aug. 23,

   2021), https://www.fda.gov/media/150386/download (“Pfizer Letter”). (A true and

   correct copy of the BioNTech Letter is docketed at ECF No. 1-5 as EXHIBIT E and

   incorporated herein. A true and correct copy of the Pfizer Letter is docketed at ECF

   No. 1-6 as EXHIBIT F and incorporated herein.)




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          100. In the Pfizer Letter, the FDA confirms that, on December 11, 2020, it

   granted Emergency Use Authorization (EUA) for the Pfizer-BioNTech COVID-19

   Vaccine. (Pfizer Letter at 1.) It also notes that the EUA was continued on December

   23, 2020, February 25, 2020, May 10, 2021, June 25, 2021, and August 12, 2021.

   (Pfizer Letter at 1-2.)

          101. The Pfizer Letter also makes clear that there are scientific,

   manufacturing, and legal differences between the Pfizer-BioNTech COVID-19

   Vaccine and the newly approved BioNTech COMIRNATY, COVID-19 Vaccine,

   mRNA. (Pfizer Letter at 2 n.9, 3 n.10.)

          102. Specifically, the FDA stated that although COMIRNATY was granted

   full approval by the FDA, the Pfizer-BioNTech COVID-19 Vaccine was still only

   authorized under the EUA. (Pfizer Letter at 2 n.9 (“In the August 23, 2021 revision,

   FDA clarified that, subsequent to the FDA approval of COMIRNATY (COVID-19

   Vaccine, mRNA) for the prevention of COVID-19 for individuals 16 years of age and

   older, this EUA would remain in place for the Pfizer-BioNTech COVID-19 vaccine

   for the previously-authorized indication and uses. It also authorized COMIRNATY

   (COVID-19 Vaccine, mRNA) under this EUA for certain uses that are not included in

   the approved biologics license application (BLA).” (emphasis added).

          103. All existing vials of the Pfizer-BioNTech COVID-19 Vaccine remain

   available only under the authorization of the EUA. (Pfizer Letter at 2 n.9.)

          104. On information and belief, the existing vials of Pfizer-BioNTech

   COVID-19 Vaccine in the United States number in the millions, and that all of these

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   EUA vaccine doses will be administered before any does of the fully approved

   COMIRNATY, meaning the fully approved COMIRNATY will not be available for

   administration in the United States in the near future.

         105. There are currently no available doses of COMIRNATY in the United

   States, and COMIRNATY is not being manufactured for production or distribution

   in the United States at this time.

         106. In fact, the FDA Pfizer Letter plainly states that COMIRNATY is not

   available in the United States: “Although COMIRNATY (COVID-19 Vaccine,

   mRNA) is approved to prevent COVID-19 in individuals 16 years of age and older,

   there is no sufficient approved vaccine for distribution to the population.” (Pfizer

   Letter at 6 n.12 (emphasis added).)

         107. Thus, the FDA has admitted and acknowledged that COMIRNATY is

   not available for the population in the United States, and thus extended the EUA for

   the Pfizer-BioNTech Covid-19 Vaccine. (Id.)

         108. Indeed, in order for the FDA to have extended the EUA for the Pfizer-

   BioNTech Covid-19 Vaccine, it was required to find that there were no alternatives

   available for the Pfizer-BioNTech Vaccine. (See Pfizer Letter at 6 (“There is no

   adequate, approved, and available alternative to the Pfizer-BioNTech COVID-19

   Vaccine to prevent COVID-19.” (emphasis added).)

         109. Moreover, though Secretary Austin stated that the Federal COVID-19

   Vaccine Mandate “will only use COVID-19 vaccines that receive full licensure from



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   the Food and Drug Administration (FDA), in accordance with FDA-approved

   labeling and guidance,” (Ex. D at 1), additional military documents reveal that the

   Department of Defense is not following its own directive and is, instead, using EUA

   vaccines because there is no FDA approved vaccine available. In a Memorandum for

   Assistant Secretary of the Army (Manpower and Reserve Affairs), Assistant Secretary

   of the Navy (Manpower and Reserve Affairs), Assistant Secretary of the Air Force

   (Manpower and Reserve Affairs), and the Director of the Defense Health Agency,

   Terry Adirim, Acting Assistant Secretary of Defense for Health Affairs, admitted that

   the Department of Defense was not administering a fully licensed and approved

   vaccine to the heroes in the United States Armed Forces, but was instead skirting

   federal law by mandating an EUA vaccine instead. (A true and correct copy of Acting

   Assistant Secretary Adirim’s Memorandum is docketed at ECF No. 1-7 as EXHIBIT

   G and incorporated herein.)

         110. Specifically, the Memorandum stated that Department of Defense health

   care providers “should use doses distributed under the EUA to administer the

   vaccination series as if the doses were the licensed vaccine.” (Ex. G at 1 (emphasis

   added).)

         111. The same distinctions exist between the Moderna COVID‑19 Vaccine,

   authorized for emergency use on December 18, 2020, and which is available in the

   United States under the EUA, and Moderna’s SPIKEVAX (COVID-19 Vaccine,

   mRNA), which was approved on January 31, 2022, and which is not available in the




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   United States. See Letter, United States Food and Drug Administration to

   ModernaTX, Inc. (June 17, 2022), https://www.fda.gov/media/144636/download,

   at 1–2, 11 & n.16 (“Although SPIKEVAX (COVID-19 Vaccine, mRNA) and

   Comirnaty (COVID-19 Vaccine, mRNA) are approved to prevent COVID-19 in

   certain individuals who fall within the scope of the Moderna COVID-19 Vaccine

   authorization, there is not sufficient approved vaccine available for distribution to

   this population . . . .” (emphasis added)), 16 (“The Moderna COVID-19 Vaccine . . .

   and Spikevax (COVID-19 Vaccine, mRNA) have the same formulation. The products

   are legally distinct with certain differences that do not impact safety or effectiveness.”

   (emphasis added)).

           112. Thus, the only currently available COVID-19 vaccines are authorized

   under EUA only, and therefore cannot be mandated by Secretary Austin. (See Count

   I, infra.)

           113. The Federal Food, Drug, And Cosmetic Act provides that

           subject to the provisions of this section, the Secretary (of the
           Department of Health and Human Services) may authorize the
           introduction into interstate commerce, during the effective period of a
           declaration under subsection (b), of a drug, device, or biological product
           intended for use in an actual or potential emergency (referred to in this
           section as an “emergency use.”

   21 U.S.C. § 360bbb-3(a)(1) (emphasis added) [hereinafter EUA Statute].

           114. As an essential part of the explicit statutory conditions for EUA, the

   EUA Statute mandates that all individuals to whom the EUA product may be

   administered be given the option to accept or refuse administration of the product:


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         With respect to the emergency use of an unapproved product, the
         Secretary, to the extent practicable given the applicable circumstances
         described in subsection (b)(1), shall, for a person who carries out any
         activity for which the authorization is issued, establish such conditions
         on an authorization under this section as the Secretary finds necessary or
         appropriate to protect the public health, including the following:

             ....

             (ii) Appropriate conditions designed to ensure that individuals to
             whom the product is administered are informed—

                (I) that the Secretary has authorized the emergency use of the
                product;

                (II) of the significant known and potential benefits and risks of
                such use, and of the extent to which such benefits and risks are
                unknown; and

                (III) of the option to accept or refuse administration of the
                product, of the consequences, if any, of refusing administration of
                the product, and of the alternatives to the product that are available
                and of their benefits and risks.

   21 U.S.C. § 360bbb-3(e)(1)(A)(ii)(I)–(III) (emphasis added).

         115. The statutorily required Fact Sheets for each of the EUA COVID-19

   vaccines acknowledge that individuals cannot be compelled to accept or receive the

   vaccine. See, e.g., Pfizer-BioNTech, Fact Sheet for Recipients and Caregivers (June 25,

   2021), https://www.fda.gov/media/144414/download (“It is your choice to receive

   or not to receive the Pfizer-BioNTech COVID-19 Vaccine. Should you decide not

   to receive it, it will not change your standard medical care.” (emphasis added)).

         116. Because all COVID-19 vaccines available in the United States are subject

   to the EUA Statute restrictions and limitations, all individuals—including military




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   servicemembers, federal employees, and federal civilian contractors—have the

   explicit right under the EUA Statute to accept or refuse administration of the products.

          F.     IRREPARABLE HARM TO PLAINTIFFS.

          117. Because of Defendants’ refusal to grant Plaintiffs merited religious

   exemptions from the Federal COVID-19 Vaccine Mandate, Plaintiff servicemembers

   face the unconscionable choice of violating their sincerely held religious beliefs or

   facing court martial and dishonorable discharge from their faithful service to the

   Nation.

          118. As a result of the Federal COVID-19 Vaccine Mandate, Plaintiffs have

   suffered and are suffering irreparable injury by being prohibited from engaging in their

   constitutionally and statutorily protected rights to the free exercise of their sincerely

   held religious beliefs.

          119. As a result of the Federal COVID-19 Vaccine Mandate, Plaintiffs have

   suffered and are suffering irreparable injury by being forced to choose between

   maintaining the ability to feed their families and the free exercise of their sincerely held

   religious beliefs.

          120. As a result of the Federal COVID-19 Vaccine Mandate, Plaintiffs have

   suffered and are suffering irreparable injury by being stripped of their rights to equal

   protection of the law and being subjected to disfavored class status in the United States

   Armed Forces.

          121. Plaintiffs also face the prospect of irreparable medical injury as a result

   of the Federal COVID-19 Vaccine Mandate. A recent study conducted by the

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   Department of Defense found “higher than expected rates of heart inflammation

   following receipt of COVID-19 vaccines” among military servicemembers. See

   Patricia Kime, DoD Confirms: Rare Heart Inflammation Cases Linked to COVID-19

   Vaccines,   Military.com   (June   30,   2021),     https://www.military.com/daily-

   news/2021/06/30/dod-confirms-rare-heart-inflammation-cases-linked-covid-19-

   vaccines.html (emphasis added).

         In fact, on or about June 29, 2021, Defendants knew that the mRNA
         vaccines would causing myocarditis/pericarditis (a potentially serious
         and deadly heart inflammation) in certain members of the military,
         particularly in males 30 and under. In a study conducted by United States
         Army, Navy, and Air Force physicians specifically found: A total of 23
         male patients (22 currently serving in the military and 1 retiree; median
         [range] age, 25 [20-51] years) presented with acute onset of marked
         chest pain within 4 days after receipt of an mRNA COVID-19 vaccine.
         All military members were previously healthy with a high level of
         fitness. Seven received the BNT162b2-mRNA vaccine and 16 received
         the mRNA-1273 vaccine. A total of 20 patients had symptom onset
         following the second dose of an appropriately spaced 2-dose series. All
         patients had significantly elevated cardiac troponin levels. Among 8
         patients who underwent cardiac magnetic resonance imaging within the
         acute phase of illness, all had findings consistent with the clinical
         diagnosis of myocarditis. . . . While the observed number of myocarditis
         cases was small, the number was higher than expected among male
         military members after a second vaccine dose.

   Jay Montgomery, et al., Myocarditis Following Immunization With mRNA COVID-19

   Vaccines in Members of the US Military, Journal of American Medical Association

   Network            (June           29,            2021),         available          at

   https://jamanetwork.com/journals/jamacardiology/fullarticle/2781601          (emphasis

   added).




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          122. Dr. Matthew Oster, a member of the President’s COVID-19 Task Force,

   confirmed the link between the COVID-19 vaccines and myocarditis, stating: “It does

   appear that mRNA vaccines may be a new trigger for myocarditis yet it does have

   some different characteristics.” Jackie Salo, COVID-19 mRNA vaccines likely linked to

   rare    heart   condition    in    kids:     CDC     panel,    (June     23,        2021),

   https://nypost.com/2021/06/23/covid-19-vaccines-from-pfizer-moderna-likely-

   linked-to-rare-heart-condition-cdc-panel/.

          123. Indeed, it is now well confirmed by the CDC and other studies that males

   30 and under have an unacceptable risk of developing myocarditis as a result of the

   COVID-19 vaccines. (See Declaration of Dr. Peter McCullough, docketed at ECF No.

   1-8 as EXHIBIT H and incorporated herein.)

          124. The COVID-19 genetic vaccines (Pfizer, Moderna, J&J) skipped testing

   for genotoxicity, mutagenicity, teratogenicity, and oncogenicity. In other words, it is

   unknown whether or not these products will change human genetic material, cause

   birth defects, reduce fertility, or cause cancer. (Ex. H, McCullough Decl. ¶ 16.)

          125. The Pfizer, Moderna, and JNJ vaccines are considered “genetic

   vaccines”, or vaccines produced from gene therapy molecular platforms which

   according to US FDA regulatory guidance are classified as gene delivery therapies and

   should be under a 15-year regulatory cycle with annual visits for safety evaluation by

   the research sponsors. FDA. Food and Drug Administration. (Id. ¶ 17.)

          126. The FDA has “advised sponsors to observe subjects for delayed adverse

   events for as long as 15 years following exposure to the investigational gene therapy

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   product, specifying that the long-term follow-up observation should include a

   minimum of five years of annual examinations, followed by ten years of annual queries

   of study subjects, either in person or by questionnaire.” (emphasis added) Thus, the

   administration of the Moderna, Pfizer, and JNJ vaccines should not be undertaken

   without the proper consent and arrangements for long-term follow-up which are

   currently not offered in the US. (See, EUA briefing documents for commitments as to

   follow up: Moderna , Pfizer , J&J ). They have a dangerous mechanism of action in

   that they all cause the body to make an uncontrolled quantity of the pathogenic wild-

   type spike protein from the SARS-CoV-2 virus for at least two weeks probably a longer

   period based on the late emergence of vaccine injury reports. This is unlike all other

   vaccines where there is a set amount of antigen or live-attenuated virus. This means

   for Pfizer, Moderna, and J&J vaccines it is not predictable among patients who will

   produce more or less of the spike protein. The Pfizer, Moderna, and JNJ vaccines

   because they are different, are expected to produce different libraries of limited

   antibodies to the now extinct wild-type spike protein. We know the spike protein

   produced by the vaccines is obsolete because the 17th UK Technical Report on SARS-

   CoV-2 Variants issued June 25, 2021, and the CDC June 19, 2021, Variant Report

   both indicate the SARS-CoV-2 wild type virus to which all the vaccines were

   developed is now extinct. (Id. ¶ 18.)

         127. The spike protein itself has been demonstrated to injure vital organs such

   as the brain, heart, lungs, as well as damage blood vessels and directly cause blood

   clots. Additionally, because these vaccines infect cells within these organs, the

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   generation of spike protein within heart and brain cells, in particular, causes the body's

   own immune system to attach to these organs. This is abundantly apparent with the

   burgeoning number of cases of myocarditis or heart inflammation among individuals

   below age 30 years. (Id.)

         128. Because the US FDA and CDC have offered no interpretation of overall

   safety of the COVID-19 vaccines according to the manufacturer or as a group, nor

   have they offered methods of risk mitigation for these serious adverse effects which

   can lead to permanent disability or death, no one should be pressured, coerced, receive

   the threat or reprisal, or be mandated to receive one of these investigational products

   against their will. Because the vaccine centers, CDC, FDA, and the vaccine

   manufacturers ask for the vaccine recipient to grant indemnification on the consent

   form before injection, all injuries incurred by the person are at their own cost which

   can be prohibitive depending on the needed procedures, hospitalizations,

   rehabilitation, and medications. (Id.)

         129. The COVID-19 public vaccination program operated by the CDC and

   the FDA is a clinical investigation and under no circumstance can any person receive

   pressure, coercion, or threat of reprisal on their free choice of participation. Violation

   of this principle of autonomy by any entity constitutes reckless endangerment with a

   reasonable expectation of causing personal injury resulting in damages. (Id. ¶ 21.)

         130.    The total safety reports in VAERS for all vaccines per year up to 2019

   was 16,320. The total safety reports in VAERS for COVID-19 Vaccines alone through

   October 1, 2021, is 778,683. Based on VAERS as of October 1, 2021, there were 16,310

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   COVID-19 vaccine deaths reported and 75,605 hospitalizations reported for the

   COVID-19 vaccines (Pfizer, Moderna, JNJ). By comparison, from 1999, until

   December 31, 2019, VAERS received 3167 death reports (158 per year) adult death

   reports for all vaccines combined. Thus, the COVID-19 mass vaccination is associated

   with at least a 39-fold increase in annualized vaccine deaths reported to VAERS. (Id.

   ¶ 28.)

            131. COVID-19 vaccine adverse events account for 98% of all vaccine-related

   AEs from December 2020 through the present in VAERS. (Id. ¶ 29.)

            132. The COVID-19 vaccines are not safe for general use and cannot be

   deployed indiscriminately or supported, recommended, or mandated among any

   group. (Id. ¶ 30.)

            133. There are emerging trends showing that the vaccine is especially risky for

   those 12- 29 in Dr. McCullough’s expert medical opinion with complications in the

   cardiovascular, neurological, hematologic, and immune systems. (See, Rose J, et al).

   Increasingly the medical community is acknowledging the possible risks and side

   effects including myocarditis, Bell’s Palsy, Pulmonary Embolus, Pulmonary

   Immunopathology, and severe allergic reaction causing anaphylactic shock. See

   Chien-Te Tseng, Elena Sbrana, Naoko Iwata- Yoshikawa, Patrick C Newman, Tania

   Garron, Robert L Atmar, Clarence J Peters, Robert B Couch, Immunization with

   SARS coronavirus vaccines leads to pulmonary immunopathology on challenge with

   the SARS virus, https://pubmed.ncbi.nlm.nih.gov/22536382/ (last visited June 21,

   2021); Centers for Disease Control and Prevention, Allergic Reactions Including

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   Anaphylaxis After Receipt of the First Dose of Pfizer-BioNTech COVID-19

   Vaccine—United States, December 14– 23, 2020 (Jan 15, 2021). (Id. ¶ 31.)

         134. The Centers for Disease Control has held emergency meetings on this

   issue and the medical community is responding to the crisis. It is known that

   myocarditis causes injury to heart muscle cells and may result in permanent heart

   damage resulting in heart failure, arrhythmias, and cardiac death. These conditions

   could call for a lifetime need for multiple medications, implantable cardio

   defibrillators, and heart transplantation. Heart failure has a five-year 50% survival and

   would markedly reduce the lifespan of a child or young adult who develops this

   complication after vaccine-induced myocarditis. (Id. ¶ 32.)

         135. COVID-19 vaccine-induced myocarditis has a predilection for young

   males below age 30 years. The Centers for Disease Control has held emergency

   meetings on this issue and the medical community is responding to the crisis and the

   US FDA has issued a warning on the Pfizer and Moderna vaccines for myocarditis.

   In the cases reviewed by the CDC and FDA, 90% of children with COVID-19 induced

   myocarditis developed symptoms and clinical findings sufficiently severe to warrant

   hospitalization. Because this risk is not predictable and the early reports may represent

   just the tip of the iceberg, no individual under age 30 under any set of circumstances

   should feel obliged to take this risk with the current genetic vaccines particularly the

   Pfizer and Moderna products. (Id. ¶ 33.)

         136. Multiple recent studies and news reports detail people 18-29 dying from

   myocarditis after receiving the COVID-19 vaccine. According to the CDC, 475 cases

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   of pericarditis and myocarditis have been identified in vaccinated citizens aged 30 and

   younger. See FDA, Vaccines and Related Biological Products Advisory Committee

   June 10, 2021, Meeting Presentation. The FDA found that people 12-24 account for

   8.8% of the vaccines administrated, but 52% of the cases of myocarditis and

   pericarditis were reported. (Id. ¶¶ 34-35.)

         137. The CDC recently released data stating that there have been 267 cases of

   myocarditis or pericarditis reported after receiving one dose of the COVID-19 vaccines

   and 827 reported cases after two doses through June 11. There are 132 additional cases

   where the number of doses received is unknown. Id. There have been 2466 reported

   cases of myocarditis that have occurred, and the median age is thirty. (Id. ¶ 37.) And,

   the CDC just announced that the vaccine is “likely linked” to myocarditis. Advisory

   Board, CDC panel reports ‘likely association’ of heart inflammation and mRNA

   COVID-19 vaccines in young people. (Id. ¶ 36.)

         138. The irreparable harm to Plaintiffs and the class members they represent

   is incalculable, unconscionable, and unconstitutional.

                                  CLASS ALLEGATIONS

         139. Plaintiffs satisfy the requirements Fed. R. Civ. P. 23(a) because the class

   is so numerous that joinder of all members is impracticable, each member’s claims

   involve common questions of law and fact, the claims of the representatives are typical

   of and identical to the claims of the other members of the class, and the representatives

   here will fairly and adequately protect the interests of the class in having the primarily




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   legal questions addressed by the Court in an expeditious manner. In the Coast Guard,

   1,308 individuals have submitted requests for religious accommodation.

         140. Plaintiffs have typicality with the other members of the class of military

   servicemembers who have been denied religious exemption from the Federal

   COVID-19 Vaccine Mandate and who are threatened with the unconscionable choice

   between conformance with their sincerely held religious convictions adverse

   employment action.

         141. Plaintiffs have commonality with the other members of the class because

   they are all members of the United States Coast Guard subject to the Federal

   COVID-19 Vaccine Mandate with a policy-in-fact of denying all merited religious

   accommodation requests.

         142. Plaintiffs’ claims in the Court are representative of the claims of other

   class members and involve questions of fact and law that are common to all class

   members, including, inter alia,

         (a) whether the EUA Statute requires that Plaintiffs be given the option to refuse

   a COVID-19 vaccine because there is currently no FDA approved COVID-19 vaccine

   available;

         (b) whether Defendants violate the First Amendment to the United States

   Constitution by mandating that Plaintiffs accept and receive a COVID-19 vaccine

   regardless of whether Plaintiffs’ and the other class members’ sincerely held religious

   beliefs compel them to abstain from acceptance or receipt of the three currently

   available COVID-19 vaccines; and

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         (c) whether the federal Religious Freedom Restoration Act (RFRA) requires

   Defendants and all those in active concert with them to provide accommodations and

   exemptions to those Plaintiffs with sincerely held religious convictions that compel

   them to abstain from receiving one of the three currently available COVID-19

   vaccines.

         143. Plaintiffs’ claims are representative and common among all class

   members because the injury sustained—Defendants’ refusals to grant exemption and

   accommodation for sincerely held religious objections to the COVID-19 vaccines and

   the resulting adverse employment actions—are categorically identical. Indeed,

   Plaintiffs and the other members of the class “have suffered the same injury.” Wal-

   Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

         144. Plaintiffs will fairly and adequately protect the interests of the class

   because they are seeking a temporary restraining order, preliminary and permanent

   injunctive relief, and declaratory relief against enforcement of the Federal COVID-19

   Vaccine Mandate and Defendants’ refusals to entertain or grant religious exemptions

   and accommodations which will provide relief to all class members.

         145. Plaintiffs likewise satisfy the requirements of Fed. R. Civ. P. 23(b)

   because Defendants have acted in a manner that applies to all members of the class

   with respect to the Federal COVID-19 Vaccine Mandate, and have refused to grant

   religious accommodations to the entire group of class members who have sincerely

   held religious objections to receiving a COVID-19 vaccine under the Mandate. Fed.

   R. Civ. P. 23(b)(2).

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         146. Additionally, Plaintiffs’ requested injunctive and declaratory relief would

   appropriately protect of the entire class as a whole. Fed. R. Civ. P. 23(b)(2).

         147. Moreover, Plaintiffs satisfy the requirements of Fed. R. Civ. P. 23(b)

   because the common questions of law and fact applicable to the class members’ claims

   predominate over individualized questions pertaining to individual class members.

   Fed. R. Civ. P. 23(b)(3).

         148. Adjudication of Plaintiffs and the other class members’ claims are more

   fairly and efficiently adjudicated by a class action, as the claims for religious

   accommodation and exemption from the Federal COVID-19 Vaccine Mandate are

   virtually identical among all class members, the relevant facts applicable to each

   individual class member are substantially similar, and the applicable substantive law

   for the class members’ claims is identical in all respects. Fed. R. Civ. P. 23(b)(3).

    COUNT I – VIOLATION OF THE EMERGENCY USE AUTHORIZATION
    PROVISIONS OF THE FEDERAL FOOD, DRUG, AND COSMETIC ACT,
      21 U.S.C. § 360bbb-3, AS APPLIED BY 10 U.S.C. §§ 1107 AND 1107a

         149. Plaintiffs hereby reallege and adopt each and every allegation in

   paragraphs 1–148 as if fully set forth herein.

         150. The Federal Food, Drug, And Cosmetic Act provides that

         subject to the provisions of this section, the Secretary (of the
         Department of Health and Human Services) may authorize the
         introduction into interstate commerce, during the effective period of a
         declaration under subsection (b), of a drug, device, or biological product
         intended for use in an actual or potential emergency (referred to in this
         section as an “emergency use.”

         21 U.S.C. § 360bbb-3(a)(1) (emphasis added).



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         151. For ease of reference, Plaintiffs will refer to the general provisions of 21

   U.S.C. §360bbb-3 as the “Emergency Use Authorization Statute” or “EUA Statute.”

         152. The Emergency Use Authorization Statute further provides the

   limitations on when the Secretary may authorize the emergency use of an unapproved

   product for use in interstate commerce, and specifically limits such authorization to

   circumstances where the Secretary of Homeland Security has determined certain

   emergencies exits, where the Secretary of Defense has determined that certain military

   emergencies exist, where the Secretary of the Department of Health and Human

   services has determined that certain public health emergencies exist, and where there

   has been some identification of a material threat pursuant to other provisions of the

   United States Code. See 21 U.S.C. § 360bbb-3(b)(1)(A)-(D).

         153. The Secretary’s Emergency Use Authorization terminates whenever the

   circumstances described in 21 U.S.C. § 360bbb-3(b)(1)(A)-(D) cease to exist or where

   the product approved for Emergency Use under the statute receives a change in

   approval status. 21 U.S.C. § 360bbb-3(b)(2)(A)(i)-(ii).

         154. As an essential part of the explicit statutory conditions for EUA, the

   EUA Statute mandates that all individuals to whom the EUA product may be

   administered be given the option to accept or refuse administration of the product:

         With respect to the emergency use of an unapproved product, the
         Secretary, to the extent practicable given the applicable circumstances
         described in subsection (b)(1), shall, for a person who carries out any
         activity for which the authorization is issued, establish such conditions
         on an authorization under this section as the Secretary finds necessary or
         appropriate to protect the public health, including the following:


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             ....

             (ii) Appropriate conditions designed to ensure that individuals to
             whom the product is administered are informed—

                (I) that the Secretary has authorized the emergency use of the
                product;

                (II) of the significant known and potential benefits and risks of
                such use, and of the extent to which such benefits and risks are
                unknown; and

                (III) of the option to accept or refuse administration of the
                product, of the consequences, if any, of refusing administration of
                the product, and of the alternatives to the product that are available
                and of their benefits and risks.

   21 U.S.C. § 360bbb-3(e)(1)(A)(ii)(I)–(III) (emphasis added).

         155. Consistent with the requirement in the Emergency Use Authorization

   statute that all potential recipients of the COVID-19 vaccine be informed of the option

   to accept or refuse the vaccine, the Emergency Use Authorization Fact Sheet for all

   three of the currently available COVID-19 vaccines specifically states—as required by

   the Emergency Use Authorization Statute—that individuals have the right to refuse

   administration of the COVID-19 vaccine. See Moderna, Vaccine Information Fact Sheet

   for Recipients and Caregivers (Jan. 31, 2022), https://www.fda.gov/media/144638/

   download (“Under the EUA, it is your choice to receive or not receive the vaccine.

   Should you decide not to receive it, it will not change your standard medical care.”

   (emphasis added)); Pfizer-BioNTech, Vaccine Information Fact Sheet for Recipients and

   Caregivers (Jan. 31, 2022), https://www.fda.gov/media/153716/download (“Under

   the EUA, it is your choice to receive or not receive the vaccine. Should you decide


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   not to receive it, it will not change your standard medical care.” (emphasis added));

   Janssen, Fact Sheet for Recipients and Caregivers (Jan. 31, 2022), https://www.fda.gov/

   media/146305/download (“It is your choice to receive or not receive the Janssen

   COVID-19 Vaccine. Should you decide not to receive it, it will not change your

   standard medical care.” (emphasis added)).

            156. “Congress has prohibited the administration of investigational drugs to

   service members without their consent.” Doe v. Rumsfeld, 341 F. Supp. 2d 1, 19 (D.D.C.

   2004).

            157. There is a very strict mechanism under which any military exception to

   the EUA statute may be deployed, and neither have occurred here.

            158. First, the President can waive the informed consent requirement, but that

   Presidential waiver must be in writing and demonstrate that the President has

   determined “that obtaining consent is not in the interests of national security,” 10

   U.S.C. § 1107(f), or “that complying with such requirement is not in the interests of

   national security,” 10 U.S.C. § 1107a(a).

            159. The strict criteria laid out in the statutory framework demonstrate the

   limited scope of the exceptions to the informed consent requirement. To start, the

   initial emergency declaration by the HHS Secretary must be based on one of four

   statutorily listed justifications—none of which apply here. The first requires the

   Secretary of Defense to find a domestic emergency, or significant potential for a

   domestic emergency, based on heightened risk of attack with a biological, chemical,



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   radiological, or nuclear agent. 21 U.S.C. § 360bbb–3(b)(1)(A) (“A “determination by

   the Secretary of Homeland Security that there is a domestic emergency, or a significant

   potential for a domestic emergency, involving a heightened risk of attack with a

   biological, chemical, radiological, or nuclear agent or agents.”).

         160. The second requires a finding that there is a military emergency

   involving a heightened risk to US military forces of an attack with a biological,

   chemical, radiological, or nuclear agent, or an agent that may cause an imminently

   life-threatening and specific risk to US military forces. 21 U.S.C. § 360bbb-3(b)(1)(B)

   (“A “determination by the Secretary of Defense that there is a military emergency, or

   a significant potential for a military emergency, involving a heightened risk to United

   States military forces, including personnel operating under the authority of title 10 or

   title 50, of attack with a biological, chemical, radiological, or nuclear agent or

   agents; or an agent or agents that may cause, or are otherwise associated with, an

   imminently life-threatening and specific risk to United States military forces.”

   (emphasis added)).

         161. The third requires a finding that there is a public health emergency, or

   significant potential for a public health emergency that affects national security or the

   health and security of US citizens abroad that involves a biological, chemical,

   radiological, or nuclear agent or a disease or condition attributable to one of those

   agents. 21 U.S.C. §360bbb-3(b)(1)(C) (A “determination by the Secretary that there is

   a public health emergency, or a significant potential for a public health emergency,



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   that affects, or has a significant potential to affect, national security or the health and

   security of United States citizens living abroad, and that involves a biological,

   chemical, radiological, or nuclear agent or agents, or a disease or condition that

   may be attributable to such agent or agents.” (emphasis added)).

          162. The fourth requires the identification of a material threat involving

   chemical, biological, radiological, and nuclear agents sufficient to affect national

   security or the health and security of US citizens living abroad. 21 U.S.C.

   § 360bbb-3(b)(1)(D) (“The “identification of a material threat [involving chemical,

   biological, radiological, and nuclear agents] pursuant to section 319F–2 of the Public

   Health Service Act [42 U.S.C. § 247d–6b] sufficient to affect national security or the

   health and security of United States citizens living abroad.” (emphasis added)).

          163. Under the above statute, there is no legal basis on which the President

   may waive consent for the COVID-19 vaccines for the military. Indeed, he has not

   done so because he has no statutory authority under these facts to waive the EUA

   requirements for the military.

          164. Even after the HHS Secretary establishes that one of the four criteria are

   satisfied, then under § 360bbb–3 the HHS Secretary then must make a separate

   determination that an “agent” referred to in the declaration can cause a serious or life-

   threatening disease or condition and that based on the scientific evidence available for

   the product authorized under the EUA (i) it may be effective in diagnosing, treating,

   or preventing the disease or serious life-threatening disease, (ii) the known and



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   potential benefits outweigh the risks; (iii) there is no adequate, approved, and available

   alternative to the product authorized under the EUA; (iv) in the case of a military

   emergency based on a biological, chemical, radiological, or nuclear agent, the

   Secretary of Defense made the emergency use request; and (v) other criteria

   established by regulation are satisfied.

         165. None of the foregoing criteria has been satisfied.

         166. Defendants have ignored their obligations under the EUA Statute.

         167. There has been no Presidential declaration sufficient to invoke the

   consent exceptions of the EUA statute.

         168. There has been no domestic emergency, military emergency, public

   health emergency, or material threat of a biological, chemical, radiological, or nuclear

   agent, or a disease attributable to one of those conditions.

         169. As such, Defendants are prohibited by the EUA statute from mandating

   that any Plaintiffs or similarly situated military servicemembers receive or accept one

   of the COVID-19 vaccines.

         170. Put simply, the Emergency Use Authorization Statute provides that, as

   a condition of receiving authorization for emergency use, ALL individuals to whom

   the EUA product may be administered are given the right to accept or refuse

   administration of the product—and this includes members of the military. And, of

   course, the EUA right to accept or refuse applies and cannot be waived respecting

   the federal employees and federal civilian contractor Plaintiffs.



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          171. The only currently available COVID-19 vaccines (Janssen/Johnson &

   Johnson, Moderna, and Pfizer/BioNTech) are only authorized for use under the

   Emergency Use Authorization statute and have no general approval under the United

   States Code.

          172. Because all three of the currently available COVID-19 vaccines are

   subject only to Emergency Use under the Emergency Use Authorization statute, the

   Emergency Use Authorization statute mandates that all individuals to whom the

   product may be administered, including Plaintiffs, be given the right to accept or

   refuse administration of the product.

          173. Put simply, because all three of the currently available COVID-19

   vaccines are subject only to Emergency Use under the Emergency Use Authorization

   statute, the Emergency Use Authorization statute prohibits Defendants from making

   the COVID-19 vaccines mandatory.

          174. The Federal COVID-19 Vaccine Mandate, on its face and as applied, has

   caused, is causing, and will continue to cause irreparable harm and actual and undue

   hardship on Plaintiffs’ sincerely held religious beliefs.

          175. Plaintiffs have no adequate remedy at law for the continuing deprivation

   of their most cherished constitutional liberties and sincerely held religious beliefs.

          WHEREFORE, Plaintiffs respectfully pray for relief against Defendants as

   hereinafter set forth in their prayer for relief.




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                  COUNT II – VIOLATION OF THE FIRST AMENDMENT
                      TO THE UNITED STATES CONSTITUTION

          176. Plaintiffs hereby reallege and adopt each and every allegation in

   paragraphs 1–148 above as if fully set forth herein.

          177. The Free Exercise Clause of the First Amendment to the United States

   Constitution prohibits the government from abridging Plaintiffs’ rights to free exercise

   of religion.

          178. Plaintiffs have sincerely held religious beliefs that Scripture is the

   infallible, inerrant word of the Lord Jesus Christ, and that they are to follow its

   teachings.

          179. Plaintiffs have and exercise sincerely held religious beliefs (articulated in

   Section B, supra) which compel them to abstain from receiving or accepting any of the

   currently available COVID-19 vaccines.

          180. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   targets Plaintiffs’ sincerely held religious beliefs by prohibiting Plaintiffs from seeking

   and receiving exemption and accommodation for their sincerely held religious beliefs

   against the COVID-19 vaccines.

          181. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   impermissibly burdens Plaintiffs’ sincerely held religious beliefs, compels Plaintiffs to

   either change those beliefs or act in contradiction to them, and forces Plaintiffs to

   choose between the teachings and requirements of their sincerely held religious beliefs

   in the commands of Scripture and the government’s imposed value system.



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          182. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   places Plaintiffs in an irresolvable conflict between compliance with the mandate and

   their sincerely held religious beliefs.

          183. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   puts substantial pressure on Plaintiffs to violate their sincerely held religious beliefs or

   face loss of their ability to feed their families.

          184. The Federal COVID-19 Vaccine Mandate, on its face and as applied, is

   neither neutral nor generally applicable.

          185. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   specifically targets Plaintiffs’ religious beliefs for disparate and discriminatory

   treatment.

          186. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   creates a system of individualized exemptions for preferred exemption requests while

   discriminating against requests for exemption and accommodation based on sincerely

   held religious beliefs.

          187. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   constitutes a religious gerrymander by unconstitutionally orphaning exemption and

   accommodation requests based solely on sincerely held religious beliefs of Plaintiffs

   while permitting the more favored medical exemptions to be granted.

          188. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   constitutes a substantial burden on Plaintiffs’ exercise of their sincerely held religious

   beliefs.

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          189. The Federal COVID-19 Vaccine Mandate, on its face and as applied, fails

   to accommodate Plaintiffs’ sincerely held religious beliefs.

          190. There is no legitimate, rational, or compelling interest in the Federal

   COVID-19 Vaccine Mandate’s exclusion of exemptions and accommodations for

   sincerely held religious beliefs.

          191. The Federal COVID-19 Vaccine Mandate is not the least restrictive

   means of achieving an otherwise permissible government interest.

          192. The Federal COVID-19 Vaccine Mandate, on its face and as applied, has

   caused, is causing, and will continue to cause irreparable harm and actual and undue

   hardship on Plaintiffs’ sincerely held religious beliefs.

          193. Plaintiffs have no adequate remedy at law to protect the continuing

   deprivation of their most cherished constitutional liberties and sincerely held religious

   beliefs.

          WHEREFORE, Plaintiffs respectfully pray for relief against Defendants as

   hereinafter set forth in their prayer for relief.

   COUNT III - VIOLATION OF THE RELIGIOUS FREEDOM RESTORATION
                    ACT, 42 U.S.C. §§ 2000bb to 2000bb-4

          194. Plaintiffs hereby reallege and adopt each and every allegation in

   paragraphs 1–148 above as if fully set forth herein.

          195. The Religious Freedom Restoration Act (RFRA), 42 U.S.C. §§ 2000bb

   to 2000bb-4, provides that “Government shall not substantially burden a person’s




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   exercise of religion even if the burden results from a rule of general applicability.” 42

   U.S.C. § 2000bb-1(a).

         196. RFRA also demands that, should the government substantially burden a

   person’s free exercise of religion, it bears the burden of demonstrating that its burden

   on religious exercise furthers a compelling government interest and is the least

   restrictive means of achieving that compelling government interest. 42 U.S.C.

   § 2000bb-1(b).

         197. RFRA plainly applies to Defendants, as they constitute a “branch,

   department, agency, instrumentality, and official of the United States.” 42 U.S.C.

   § 2000bb-2(1).

         198. Congress enacted RFRA “to provide very broad protection for religious

   liberty,” going “far beyond what [the Supreme Court] has held is constitutionally

   required” under the First Amendment. Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682,

   693, 706 (2014) (emphasis added).

         199. As such, RFRA encompasses a very broad definition of “exercise of

   religion,” which includes “‘any exercise of religion, whether or not compelled by, or

   central to, a system of religious belief.’” Hobby Lobby, 573 U.S. at 696 (quoting 42

   U.S.C. § 2000bb—5(7)(A)).

         200. Congress has mandated that RFRA “‘be construed in favor of a broad

   protection of religious exercise, to the maximum extent permitted by the terms of this

   chapter and the Constitution.’” Hobby Lobby, 573 U.S. at 696 (quoting 42 U.S.C.

   § 2000cc-3(g)).

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          201. “RFRA operates as a kind of super statute, displacing the normal

   operation of other federal laws.” Bostock v. Clayton Cnty., 140 S. Ct. 1731, 1754 (2020).

          202. Plaintiffs have sincerely held religious beliefs that Scripture is the

   infallible, inerrant word of the Lord Jesus Christ, and that they are to follow its

   teachings.

          203. Plaintiffs have and exercise sincerely held religious beliefs (articulated

   supra Section B) which compel them to abstain from receiving or accepting any of the

   currently available COVID-19 vaccines.

          204. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   targets Plaintiffs’ sincerely held religious beliefs by prohibiting Plaintiffs from seeking

   and receiving exemption and accommodation for their sincerely held religious beliefs

   against the COVID-19 vaccines.

          205. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   impermissibly burdens Plaintiffs’ sincerely held religious beliefs, compels Plaintiffs to

   either change those beliefs or act in contradiction to them, and forces Plaintiffs to

   choose between the teachings and requirements of their sincerely held religious beliefs

   in the commands of Scripture and the government’s imposed value system.

          206. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   places Plaintiffs in an irresolvable conflict between compliance with the mandate and

   their sincerely held religious beliefs.




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          207. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   puts substantial pressure on Plaintiffs to violate their sincerely held religious beliefs or

   face loss of their ability to feed their families.

          208. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   specifically targets Plaintiffs’ religious beliefs for disparate and discriminatory

   treatment.

          209. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   creates a system of individualized exemptions for preferred exemption requests while

   discriminating against requests for exemption and accommodation based on sincerely

   held religious beliefs.

          210. The Federal COVID-19 Vaccine Mandate, on its face and as applied,

   constitutes a substantial burden on Plaintiffs’ exercise of their sincerely held religious

   beliefs.

          211. By forcing Plaintiffs into the unconscionable choice between violating

   their sincerely held religious convictions or facing dishonorable discharge, courts

   martial, termination, and other disciplinary measures, Defendants’ mandate

   constitutes a substantial burden on Plaintiffs’ exercise of religion.

          212. The Federal COVID-19 Vaccine Mandate, on its face and as applied, fails

   to accommodate Plaintiffs’ sincerely held religious beliefs.

          213. There is no legitimate, rational, or compelling interest in the Federal

   COVID-19 Vaccine Mandate’s exclusion of exemptions and accommodations for

   sincerely held religious beliefs.

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           214. The Federal COVID-19 Vaccine Mandate is not the least restrictive

   means of achieving an otherwise permissible government interest.

           215. The Federal COVID-19 Vaccine Mandate, on its face and as applied, has

   caused, is causing, and will continue to cause irreparable harm and actual and undue

   hardship on Plaintiffs’ sincerely held religious beliefs.

           216. Plaintiffs have no adequate remedy at law for the continuing deprivation

   of their most cherished constitutional liberties and sincerely held religious beliefs.

           WHEREFORE, Plaintiffs respectfully pray for relief against Defendants as

   hereinafter set forth in their prayer for relief.

                                    PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly

   situated, respectfully pray for relief as follows:

           A.    That the Court issue a preliminary injunction pending trial, and a

   permanent injunction upon judgment, restraining and enjoining Defendants and their

   officers, agents, employees, and attorneys, and all other persons in active concert or

   participation with them, from enforcing, threatening to enforce, attempting to enforce,

   or otherwise requiring compliance with the Federal COVID-19 Vaccine Mandate such

   that:

                 i.     Defendants will immediately comply with the Emergency Use

                        Authorization Statute so that each individual has the “option to

                        accept or refuse” administration of the COVID-19 vaccines as




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                      there is currently no FDA approved COVID-19 vaccine available

                      to the population;

               ii.    Defendants will immediately cease in their refusal to consider,

                      evaluate, or accept Plaintiffs’ requests for exemption and

                      accommodation for their sincerely held religious beliefs;

               iii.   Defendants’ will immediately grant Plaintiffs’ requests for

                      religious exemption and accommodation from the Federal

                      COVID-19 Vaccine Mandate; and

               iv.    Defendants will immediately cease any actions arising from or

                      connected to Plaintiffs’ religious exemption and accommodation

                      requests, including current and ongoing punishment and

                      threatening to dishonorably discharge, court martial, and impose

                      other life-altering disciplinary actions on Plaintiffs for failure to

                      accept a COVID-19 vaccine that violates their sincerely held

                      religious beliefs;

         B.    That the Court render a declaratory judgment declaring that the Federal

   COVID-19 Vaccine Mandate, both on its face and as applied by Defendants, is illegal

   and unlawful in that it purports to remove federal civil rights and constitutional

   protections from military servicemembers, and further declaring—

               i.     the Federal COVID-19 Vaccine Mandate violates the federal

                      Emergency Use Authorization provisions of the Federal Food,

                      Drug, and Cosmetic Act by imposing a mandatory COVID-19

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                          shot upon Plaintiffs without giving the “option to accept or refuse”

                          the EUA product;

                ii.       the Federal COVID-19 Vaccine Mandate, without sufficient

                          provision for exemption or accommodation for sincerely held

                          religious beliefs, violates the First Amendment to the United States

                          Constitution by imposing a substantial burden on Plaintiffs’

                          sincerely held religious beliefs; and

                iii.      the Federal COVID-19 Vaccine Mandate, without sufficient

                          provision for exemption or accommodation for sincerely held

                          religious beliefs, violates the federal Religious Freedom

                          Restoration Act by imposing a substantial burden on Plaintiffs’

                          sincerely held religious beliefs;

         C.     That the Court adjudge, decree, and declare the rights and other legal

   obligations and relations within the subject matter here in controversy so that such

   declaration shall have the full force and effect of final judgment;

         D.     That the Court award Plaintiffs actual damages in an amount to be

   determined at trial;

         E.     That the Court award Plaintiffs their reasonable attorney’s fees, costs,

   and other expenses and disbursements in this action under 28 U.S.C. §§ 1920 and 2412

   and 42 U.S.C. § 1988, and as otherwise allowed by law;

         F.     That the Court retain jurisdiction over the matter for the purposes of

   enforcing the Court’s order; and

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         G.     That the Court grant such other and further relief as the Court deems

   equitable and just under the circumstances.




                                                 /s/ Daniel J. Schmid
                                                 Mathew D. Staver
                                                 Horatio G. Mihet
                                                 Roger K. Gannam
                                                 Daniel J. Schmid*
                                                 Richard L. Mast*
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                                                 *Specially admitted
                                                 Attorneys for Plaintiffs




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                                      VERIFICATION

         I, PILOT, am over the age of eighteen years and a Plaintiff in this action. The

   statements and allegations that pertain to me or which I make in this THIRD

   AMENDED VERIFIED CLASS ACTION COMPLAINT are true and correct, and

   based upon my personal knowledge (unless otherwise indicated). If called upon to

   testify to their truthfulness, I would and could do so competently. I declare under

   penalty of perjury, under the laws of the United States, that the foregoing statements

   are true and correct to the best of my knowledge.

         Dated:       July 26, 2022

                             /s/ PILOT
                             PILOT
                             (Original Signature retained by Counsel)




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                                      VERIFICATION

         I, LCDR PILOT, am over the age of eighteen years and a Plaintiff in this action.

   The statements and allegations that pertain to me or which I make in this THIRD

   AMENDED VERIFIED CLASS ACTION COMPLAINT are true and correct, and

   based upon my personal knowledge (unless otherwise indicated). If called upon to

   testify to their truthfulness, I would and could do so competently. I declare under

   penalty of perjury, under the laws of the United States, that the foregoing statements

   are true and correct to the best of my knowledge.

         Dated:       July 26, 2022

                             /s/ LCDR PILOT
                             LCDR PILOT
                             (Original Signature retained by Counsel)




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                                      VERIFICATION

         I, LIEUTENANT 2, am over the age of eighteen years and a Plaintiff in this

   action. The statements and allegations that pertain to me or which I make in this

   THIRD AMENDED VERIFIED CLASS ACTION COMPLAINT are true and

   correct, and based upon my personal knowledge (unless otherwise indicated). If called

   upon to testify to their truthfulness, I would and could do so competently. I declare

   under penalty of perjury, under the laws of the United States, that the foregoing

   statements are true and correct to the best of my knowledge.

         Dated:       July 26, 2022

                             /s/ LIEUTENANT 2
                             LIEUTENANT 2
                             (Original Signature retained by Counsel)




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                                       VERIFICATION

         I, AVIONICS ELECTRICAL TECHNICIAN 1, am over the age of eighteen

   years and a Plaintiff in this action. The statements and allegations that pertain to me

   or which I make in this THIRD AMENDED VERIFIED CLASS ACTION

   COMPLAINT are true and correct, and based upon my personal knowledge (unless

   otherwise indicated). If called upon to testify to their truthfulness, I would and could

   do so competently. I declare under penalty of perjury, under the laws of the United

   States, that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        July 26, 2022

                              /s/ AVIONICS ELECTRICAL TECHNICIAN 1
                              AVIONICS ELECTRICAL TECHNICIAN 1
                              (Original Signature retained by Counsel)




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                                       VERIFICATION

         I, MARINE SCIENCE TECHNICIAN 3, am over the age of eighteen years

   and a Plaintiff in this action. The statements and allegations that pertain to me or

   which I make in this THIRD AMENDED VERIFIED CLASS ACTION

   COMPLAINT are true and correct, and based upon my personal knowledge (unless

   otherwise indicated). If called upon to testify to their truthfulness, I would and could

   do so competently. I declare under penalty of perjury, under the laws of the United

   States, that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        July 26, 2022

                              /s/ MARINE SCIENCE TECHNICIAN 3
                              MARINE SCIENCE TECHNICIAN 3
                              (Original Signature retained by Counsel)




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                                       VERIFICATION

         I, SENIOR CHIEF BOATSWAIN’S MATE, am over the age of eighteen years

   and a Plaintiff in this action. The statements and allegations that pertain to me or

   which I make in this THIRD AMENDED VERIFIED CLASS ACTION

   COMPLAINT are true and correct, and based upon my personal knowledge (unless

   otherwise indicated). If called upon to testify to their truthfulness, I would and could

   do so competently. I declare under penalty of perjury, under the laws of the United

   States, that the foregoing statements are true and correct to the best of my knowledge.

         Dated:        July 26, 2022

                              /s/ SENIOR CHIEF BOATSWAIN’S MATE
                              SENIOR CHIEF BOATSWAIN’S MATE
                              (Original Signature retained by Counsel)




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